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     1   Joseph R. Re (Bar No. 134479)
     2
         joseph.re@knobbe.com
         Stephen C. Jensen (Bar No. 149894)
     3   steve.jensen@knobbe.com
     4   Perry D. Oldham (Bar No. 216016)
         perry.oldham@knobbe.com
     5   Stephen W. Larson (Bar No. 240844)
     6   stephen.larson@knobbe.com
         KNOBBE, MARTENS, OLSON & BEAR, LLP
     7   2040 Main Street, Fourteenth Floor
     8   Irvine, CA 92614
         Telephone: (949) 760-0404
     9   Facsimile: (949) 760-9502
    10
         Attorneys for Plaintiff,
    11   Masimo Corporation
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    13
                            IN THE UNITED STATES DISTRICT COURT
    14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
    15
                                     SOUTHERN DIVISION
    16

    17   MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
         a Delaware corporation; and             )
    18   CERCACOR LABORATORIES, INC.,            ) FIRST AMENDED
         a Delaware corporation                  ) COMPLAINT FOR
    19                                           ) (1) PATENT INFRINGEMENT
                      Plaintiffs,                ) (2) TRADE SECRET
    20                                           ) MISAPPROPRIATION
               v.                                ) (3) CORRECTION OF
    21                                           ) INVENTORSHIP AND
         APPLE INC., a California corporation    ) (4) OWNERSHIP OF PATENTS
    22                                           )
                                                 ) AND DEMAND FOR JURY
    23                Defendant.                 ) TRIAL
                                                 )
    24                                           ) Hon. James V. Selna
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     1         Plaintiffs MASIMO CORPORATION (“Masimo”) and CERCACOR
     2   LABORATIES, INC. (“Cercacor”) hereby complain of Defendant APPLE INC.
     3   (“Apple”), and allege as follows:
     4                                   I. THE PARTIES
     5         1.     Plaintiff Masimo is a Delaware corporation having its principal
     6   place of business at 52 Discovery, Irvine, California 92618.
     7         2.     Plaintiff Cercacor is a Delaware corporation having its principal
     8   place of business at 15750 Alton Pkwy, Irvine, California 92618.
     9         3.     Upon information and belief, Defendant Apple is a California
    10   corporation having a principal place of business at One Apple Park Way,
    11   Cupertino, California, 95014.
    12                        II. JURISDICTION AND VENUE
    13         4.     This civil action includes claims for patent infringement arising
    14   under the patent laws of the United States, 35 U.S.C. §§ 100, et seq., more
    15   particularly, 35 U.S.C. §§ 271 and 281. This civil action includes claims for
    16   correction of inventorship of certain United States patents arising under the
    17   patent law of the United States, more particularly 35 U.S.C. § 256.          This
    18   Complaint further alleges trade secret misappropriation and seeks a declaration
    19   of ownership of certain patents and patent applications.
    20         5.     This Court has subject matter jurisdiction over claims 1-12 and 14-
    21   18 pursuant to at least 28 U.S.C. §§ 1331 and 1338(a), and has at least
    22   supplemental jurisdiction over claims 13 and 19-24 pursuant to at least 28
    23   U.S.C. §§ 1367(a), including because, as alleged in more detail below, they are
    24   sufficiently related to the claims over which this Court has original jurisdiction
    25   that they form part of the same case or controversy under Article III of the
    26   United States Constitution.
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     1          6.    Apple has its principal place of business in California. Apple is
     2   subject to personal jurisdiction in California and has committed the acts
     3   complained of in this Judicial District.
     4          7.    Venue is proper in the Southern Division of the Central District of
     5   California pursuant to 28 U.S.C. § 1400(b) with respect to patent infringement
     6   because Defendant has a regular and established place of business in the County
     7   of Orange within the Central District of California and committed acts of
     8   infringement in this Judicial District.          Defendant also committed acts of
     9   misappropriation in this Judicial District. Inventive contributions to the patents
    10   and patent application as to which Plaintiffs seek correction of inventorship
    11   and/or declarations of ownership also took place in this Judicial District. Thus,
    12   venue is proper pursuant to 28 U.S.C. §§ 1391(b) because a substantial part of
    13   the events or omissions giving rise to the claims occurred in this Judicial
    14   District.
    15                         III. STATEMENT OF THE CASE
    16          8.    This action seeks relief for the theft of Plaintiffs’ highly
    17   confidential information and trade secrets, and infringement of Masimo’s
    18   patents by Defendant, correction of inventorship, and ownership of patents
    19   assigned to or filed by Apple on subject matter that belongs to Plaintiffs.
    20                           IV. STATEMENT OF FACTS
    21          9.    Masimo is a medical technology company that revolutionized non-
    22   invasive monitoring of physiological parameters, such as pulse rate, arterial
    23   oxygen saturation and many others.
    24          10.   Most of these parameters are measured using light that is
    25   transmitted through the body tissue. The received light, that has been attenuated
    26   by the various components of the body tissue, including the blood, is known in
    27   the industry as a photoplethysmograph or “PPG.” The transmission and receipt
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     1   of this light is typically accomplished through a sensor that is applied to a body
     2   part such as a finger, arm, toe, forehead or ear.
     3         11.    Before Masimo, non-invasive measurements from the PPG were
     4   plagued by unreliability, often when the measurement was needed most, due to
     5   the person moving or having low peripheral blood flow (known as “low
     6   perfusion”). The industry had essentially given up on solving these problems,
     7   concluding they were largely unsolvable. In the medical context, clinicians had
     8   to live with the results – patient monitors gave excessive false alarms, froze
     9   their measurements for prolonged periods of time despite potential changes in
    10   the physiological parameter (e.g., oxygen saturation or pulse rate), delayed
    11   notification of alarms due to long averaging times of sensor data, produced
    12   inaccurate measurements, or were unable to obtain data on the most critical
    13   patients and babies who cannot be instructed to stay still. Masimo’s pioneering
    14   technology, known as Masimo Signal Extraction Technology (“Masimo SET”),
    15   solved this problem and dramatically improved the reliability of monitoring and
    16   reporting physiological signals derived from the PPG.
    17         12.    Following its initial success with Masimo SET, Masimo invested
    18   heavily in developing additional breakthrough measurement technologies, such
    19   as non-invasively measuring total hemoglobin, carboxyhemoglobin, and
    20   methemoglobin. Masimo has continued to innovate, succeeding where others
    21   have consistently failed. Masimo was the first, and remains the only, company
    22   delivering these game-changing technologies to hospitals in the United States.
    23   Use of Masimo’s technology in the clinical setting has been proven to reduce
    24   blindness in premature infants, detect congenital heart disease in infants, save
    25   lives on the general care floor and post-surgery, and improve transfusion
    26   management, while saving money.
    27         13.    From its inception, Masimo has continuously developed cutting-
    28   edge noninvasive patient monitoring technologies. Masimo sought and received
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     1   numerous U.S. patents for many of its inventions. Masimo’s revolutionary
     2   technology was a key to its gaining significant market praise and penetration.
     3   After introduction into the market, many competitors, much larger than
     4   Masimo, used Masimo’s technology without a license, resulting in patent
     5   infringement lawsuits that ultimately confirmed the validity of Masimo’s
     6   innovations. Masimo also maintains some technology as trade secrets. Masimo
     7   also closely guards its future product and market plans. Only select employees
     8   have knowledge of and access to these guarded secrets.
     9         14.   Masimo’s innovations also include important advances in sensor
    10   technologies that work together as part of Masimo’s system and algorithms.
    11   Masimo’s sensors are integral to the success of the revolutionary technologies
    12   Masimo has developed.
    13         15.   In 1998, Masimo spun certain technologies off into a new
    14   company, Masimo Laboratories, Inc. or “Masimo Labs,” to further research and
    15   develop the technologies. The name of the company was later changed to
    16   Cercacor Laboratories Inc. or “Cercacor.” Cercacor and Masimo have a cross-
    17   license agreement to facilitate confidential collaboration between the
    18   companies. Cercacor is not owned by Masimo.
    19         16.   Like Masimo, Cercacor is an innovator of non-invasive monitoring
    20   technologies. Cercacor is on the frontline of understanding how measuring,
    21   tracking, and analyzing physiological parameters can impact pre-diabetic and
    22   diabetic patients, sports training and performance and overall health and
    23   wellness principally in the consumer market.         Cercacor continued the
    24   development that started at Masimo on non-invasive total hemoglobin (SpHb®),
    25   methemoglobin (SpMet®), and carboxyhemoglobin (SpCO®) and other non-
    26   invasive physiological parameters.
    27         17.   Leading hospitals around the world use Cercacor technology
    28   licensed to Masimo and sold under the name Masimo rainbow SET. Like
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     1   Masimo, Cercacor also maintains some technology as trade secrets, and
     2   Cercacor closely guards its future product and market plans.        Only select
     3   employees have knowledge of and access to these guarded secrets.
     4         18.    Plaintiffs carefully guard the secrecy of their confidential
     5   information and documents. For example, Plaintiffs have policies regarding
     6   labeling confidential information and documents as “CONFIDENTIAL AND
     7   PROPRIETARY.” They also restrict these documents and information from
     8   disclosure to third parties and employees on a need-to-know basis. Plaintiffs
     9   also have policies in place regarding the use of computers and related equipment
    10   that govern how their computer systems may be used. Those policies also
    11   govern the protection of Plaintiffs’ confidential information. Plaintiffs have
    12   document management systems that restrict access to confidential documents to
    13   only those employees with proper security credentials and a need for access.
    14   Plaintiffs also require employees to sign agreements precluding the employees
    15   from disclosing or making use of any confidential information except as
    16   authorized by Plaintiffs and as necessary for the performance of the employees’
    17   duties. Plaintiffs also require third parties, including customers, to execute
    18   confidential non-disclosure agreements. Plaintiffs implemented such policies
    19   and procedures to maintain the confidentiality of sensitive information. These
    20   policies remain in place today.
    21         19.    In 2013, Apple contacted Masimo and asked to meet regarding a
    22   potential collaboration. Apple told Masimo that Apple would like to understand
    23   more about Masimo’s technology to potentially integrate that technology into
    24   Apple’s products.    Apple and Masimo later entered into a confidentiality
    25   agreement, and Masimo’s management met with Apple. The meetings included
    26   confidential discussions of Masimo’s technology.       After what seemed to
    27   Masimo to have been productive meetings, Apple quickly began trying to hire
    28   Masimo employees, including engineers and key management.
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     1         20.       Masimo employed Michael O’Reilly as its Chief Medical Officer
     2   and Executive Vice President for Medical Affairs beginning in January 2008.
     3   As part of the Masimo executive team, O’Reilly was privy to extremely
     4   sensitive information, including information about mobile medical products and
     5   applications, wellness applications, clinical data gathering and analytics, and
     6   other technology of Masimo. Upon information and belief, Apple employed
     7   O’Reilly in July 2013, shortly after the meetings with Masimo, to assist in
     8   wellness and mobile applications that include non-invasive measurement of
     9   physiological parameters. Not long after, by December of 2013, O’Reilly was
    10   already meeting with the FDA on behalf of Apple to discuss medical
    11   applications and discuss medical products that non-invasively measures blood
    12   constituents.
    13         21.       Apple systematically recruited other key Masimo personnel, such
    14   as Marcelo Lamego, who was the former Chief Technical Officer of Cercacor
    15   and a former Research Scientist at Masimo. Lamego was a Masimo employee
    16   during 2000-2001 and 2003-2006, and the Cercacor Chief Technical Officer
    17   during 2006-2014.
    18         22.       Lamego had unfettered access to Plaintiffs’ highly confidential
    19   technical information. He was trained and mentored at Masimo by the most
    20   skilled engineers and scientists, and was taught about the keys to effective non-
    21   invasive monitoring, something he was not involved in prior to Masimo.
    22   Masimo engineers and scientists taught Lamego about non-invasive monitoring,
    23   including, among others, Ammar Al-Ali, Mohamed Diab, and Walter Weber.
    24   The Masimo engineers, including Al-Ali, Diab, and Weber, were Masimo
    25   employees at all relevant times.       Lamego also had access to and learned
    26   guarded secrets regarding Plaintiffs’ mobile medical products, including key
    27   technology and advance plans for future products.
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     1         23.    When Lamego left Cercacor, he assured Plaintiffs that he would
     2   not violate his agreements with Plaintiffs and volunteered that he would not
     3   work on technology similar to Plaintiffs’ technology. On January 24, 2014,
     4   Plaintiffs sent a letter to Defendant explaining that Lamego possessed Plaintiffs’
     5   confidential proprietary information and warning Apple to respect Plaintiffs’
     6   rights in such information. The letter stated “we trust that Apple will employ
     7   Mr. Lamego in an area that does not involve healthcare technology, including
     8   mobile health applications and the measurement of physiological information.”
     9   The letter also asked that “Apple refrain from inducing Mr. Lamego to take
    10   actions that would violate the Agreement while he performs services for Apple”
    11   and asked Apple to “direct Mr. Lamego to honor his obligations to all of his
    12   prior employers.” Based on Plaintiffs’ conversations with Lamego, Plaintiffs’
    13   letter to Apple, and Plaintiffs’ confidentiality agreement with Apple, Plaintiffs
    14   reasonably believed that Lamego would not use or disclose Plaintiffs’
    15   confidential information and that Defendant would not induce Lamego to do so
    16   or itself use Plaintiffs’ confidential information.
    17         24.    Unbeknownst to Plaintiffs at the time, it now appears that, shortly
    18   after joining Apple in January 2014, Lamego began pursuing on behalf of Apple
    19   numerous patent applications directed toward technologies he worked on at
    20   Plaintiffs, and with which he had no prior experience or knowledge.
    21         25.    Upon information and belief, Apple announced the first version of
    22   its watch in September 2014, and began shipping its watch in April 2015. The
    23   Apple Watch Series 3 was released on September 22, 2017, and upon
    24   information and belief had significant performance issues with the non-invasive
    25   physiological measurements. Apple announced the Apple Watch Series 4 on
    26   September 12, 2018, and upon information and belief, that watch includes
    27   technology that tracks Plaintiffs’ technologies to solve some of the performance
    28   issues. The Apple Watch Series 5 was announced on September 10, 2019 and
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     1   released on September 20, 2019. Upon information and belief, the Apple Watch
     2   Series 5 also includes Plaintiffs’ technologies to solve some of the prior
     3   performance issues, including technology as to which Lamego was an inventor
     4   while at Plaintiffs.
     5         26.    As set forth in detail below, and on information and belief, each
     6   portion of evidence cited by Plaintiffs, such as the selected portions of Apple
     7   patent applications and Apple websites, accurately portrays, in relevant part, the
     8   structure, design, function and/or operation of the Apple Watch Series 4 and
     9   later devices.
    10                            V. THE PATENTS-IN-SUIT
    11         27.    Masimo is the owner by assignment of U.S. Patent No. 10,258,265
    12   entitled “Multi-stream data collection system for noninvasive measurement of
    13   blood constituents” (“the ’265 patent”), which the United States Patent and
    14   Trademark Office lawfully and duly issued on April 16, 2019. A true and
    15   correct copy of the ’265 patent is attached hereto as Exhibit 1.
    16         28.    Masimo is the owner by assignment of U.S. Patent No. 10,258,266
    17   entitled “Multi-stream data collection system for noninvasive measurement of
    18   blood constituents” (“the ’266 patent”), which the United States Patent and
    19   Trademark Office lawfully and duly issued on April 16, 2019. A true and
    20   correct copy of the ’266 patent is attached hereto as Exhibit 2.
    21         29.    Masimo is the owner by assignment of U.S. Patent No. 10,292,628
    22   entitled “Multi-stream data collection system for noninvasive measurement of
    23   blood constituents” (“the ’628 patent”), which the United States Patent and
    24   Trademark Office lawfully and duly issued on May 21, 2019. A true and
    25   correct copy of the ’628 patent is attached hereto as Exhibit 3.
    26         30.    Masimo is the owner by assignment of U.S. Patent No. 10,299,708
    27   entitled “Multi-stream data collection system for noninvasive measurement of
    28   blood constituents” (“the ’708 patent”), which the United States Patent and
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     1   Trademark Office lawfully and duly issued on May 21, 2019. A true and
     2   correct copy of the ’708 patent is attached hereto as Exhibit 4.
     3         31.    Masimo is the owner by assignment of U.S. Patent No. 10,376,190
     4   entitled “Multi-stream data collection system for noninvasive measurement of
     5   blood constituents” (“the ’190 patent”), which the United States Patent and
     6   Trademark Office lawfully and duly issued on August 13, 2019. A true and
     7   correct copy of the ’190 patent is attached hereto as Exhibit 5.
     8         32.    Masimo is the owner by assignment of U.S. Patent No. 10,376,191
     9   entitled “Multi-stream data collection system for noninvasive measurement of
    10   blood constituents” (“the ’191 patent”), which the United States Patent and
    11   Trademark Office lawfully and duly issued on August 13, 2019. A true and
    12   correct copy of the ’191 patent is attached hereto as Exhibit 6.
    13         33.    Masimo is the owner by assignment of U.S. Patent No. 10,470,695
    14   entitled “Advanced pulse oximetry sensor” (“the ’695 patent”), which the
    15   United States Patent and Trademark Office lawfully and duly issued on
    16   November 12, 2019. A true and correct copy of the ’695 patent is attached
    17   hereto as Exhibit 7.
    18         34.    Masimo is the owner by assignment of U.S. Patent No. 6,771,994
    19   entitled “Pulse oximeter probe-off detection system” (“the ’994 patent”), which
    20   the United States Patent and Trademark Office lawfully and duly issued on
    21   August 3, 2004. A true and correct copy of the ’994 patent is attached hereto as
    22   Exhibit 8.
    23         35.    Masimo is the owner by assignment of U.S. Patent No. 8,457,703
    24   entitled “Low power pulse oximeter” (“the ’703 patent”), which the United
    25   States Patent and Trademark Office lawfully and duly issued on June 4, 2013.
    26   A true and correct copy of the ’703 patent is attached hereto as Exhibit 9.
    27         36.    Masimo is the owner by assignment of U.S. Patent No. 10,433,776
    28   entitled “Low power pulse oximeter” (“the ’776 patent”), which the United
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     1   States Patent and Trademark Office lawfully and duly issued on October 8,
     2   2019.     A true and correct copy of the ’776 patent is attached hereto as
     3   Exhibit 10.
     4           37.   Masimo is the owner by assignment of U.S. Patent No. 10,588,553
     5   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
     6   of Blood Constituents” (“the ’553 patent”), which the United States Patent and
     7   Trademark Office lawfully and duly issued on March 17, 2020. A true and
     8   correct copy of the ’553 patent is attached hereto as Exhibit 11.
     9           38.   Masimo is the owner by assignment of U.S. Patent No. 10,588,554
    10   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
    11   of Blood Constituents” (“the ’554 patent”), which the United States Patent and
    12   Trademark Office lawfully and duly issued on March 17, 2020. A true and
    13   correct copy of the ’554 patent is attached hereto as Exhibit 12.
    14                    VI. THE DISPUTED LAMEGO PATENTS
    15           39.   Lamego is named as an inventor on U.S. Provisional Patent
    16   Application No. 62/043,294, filed Aug. 28, 2014 and titled “Reflective Surface
    17   Treatments for Optical Sensors.” Related applications that also name Lamego
    18   as an inventor include U.S Patent Application Nos. 14/740,196 and 16/114,003,
    19   which issued as U.S. Patent Nos. 10,078,052 and 10,247,670.
    20           40.   Lamego is also named as an inventor on U.S. Provisional Patent
    21   Application No. 62/047,818, filed Sep. 9, 2014, entitled “Modulation and
    22   Demodulation Techniques for a Health Monitoring System.”            A related
    23   application that names Lamego as the sole inventor includes U.S Patent
    24   Application No. 14/621,268, which issued as U.S. Patent No. 10,219,754.
    25           41.   Lamego is also named as an inventor on U.S. Provisional Patent
    26   Application No. 62/056,299, filed on Sep. 26, 2014, and entitled “Electronic
    27   Device that Computes Health Data.”         Related applications that also name
    28   Lamego as the sole inventor include U.S Patent Application Nos. 14/617,422,
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     1   15/667,832, and 16/700,710. The ’422 Application issued as U.S. Patent No.
     2   9,723,997 and the ’832 Application issued as U.S. Patent No. 10,524,671.
     3         42.    Lamego is also named as an inventor on U.S. Provisional Patent
     4   Application No. 62/057,089, filed on Sep. 29, 2014, and entitled “Methods and
     5   Systems for Modulation and Demodulation of Optical Signals.”               Related
     6   applications that also name Lamego as an inventor include U.S Patent
     7   Application Nos. 14/618,664 and 15/960,507. The ’664 Application issued as
     8   U.S. Patent No. 9,952,095.
     9                         VII. FIRST CAUSE OF ACTION
    10               (INFRINGEMENT OF U.S. PATENT NO. 10,258,265)
    11         43.    Plaintiff Masimo hereby realleges and incorporates by reference
    12   the allegations set forth in paragraphs 1 through 42.
    13         44.    Upon information and belief, Defendant’s products, including at
    14   least the Apple Watch Series 4 and later devices, infringe at least Claims 1-3, 6-
    15   11, 13, 17, and 17-25 of the ’265 patent under at least 35 U.S.C. § 271(a), (b),
    16   and (c).
    17         45.    Upon information and belief, Defendant has directly infringed one
    18   or more claims of the ’265 patent through manufacture, use, sale, offer for sale,
    19   and/or importation into the United States of physiological monitors, including
    20   the Apple Watch Series 4 and later devices.
    21         46.    For example, upon information and belief, in operation, the Apple
    22   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    23   ’265 patent as set forth herein and further illustrated in the claim chart shown in
    24   Exhibit 13. The Apple Watch Series 4 and later devices are adapted to be worn
    25   by a wearer and provide an indication of a physiological parameter (for
    26   example, heart rate) of the wearer as shown in the image below found on the
    27   Apple website at https://www.apple.com/apple-watch-series-4/health/:
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    10         47.    The Apple Watch Series 4 and later devices include a plurality of
    11   emitters of different wavelengths (for example, green and infrared LEDs) and at
    12   least four detectors (for example, photodiode sensors) spaced apart from each
    13   other as shown in the image below found on the Apple website at
    14   https://support.apple.com/en-us/HT204666:
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    25         48.    The detectors output signals responsive to light from the light
    26   emitters attenuated by body tissue. Upon information and belief, the signals are
    27   indicative of a physiological parameter (for example, heart rate) of the wearer.
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     1         49.   Upon information and belief, the relevant technology in the Apple
     2   Watch Series 4 and later devices is described in the below citations to U.S.
     3   Patent Application Publication 2019/0072912 (the ’912 publication). A copy of
     4   the publication is attached as Exhibit 25. The Apple Watch Series 4 and later
     5   devices include a housing having a surface and a circular wall protruding from
     6   the surface, and a light permeable cover arranged above a portion of the housing
     7   and covering the detectors. Fig. 4C and the corresponding text of the ’912
     8   publication show, for example, such housing:
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               50.   Upon information and belief, Defendant has knowledge of
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         Masimo’s patents, including the ’265 patent, at least based on O’Reilly and
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         Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
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         applications that led to the ’265 patent in August 2008, while O’Reilly and
    27
         Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
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     1   the ’265 patent. Defendant had knowledge of the ’265 patent no later than the
     2   filing of the original Complaint.
     3         51.    Upon information and belief, Defendant has actively induced
     4   others to infringe the ’265 patent by marketing and selling the above Apple
     5   Watch Series 4 and later devices, knowing and intending that such systems
     6   would be used by customers and end users in a manner that infringes the
     7   ’265 patent. To that end, Defendant provides instructions and teachings to its
     8   customers and end users that such Apple Watch Series 4 and later devices be
     9   used to infringe the ’265 patent. Defendant’s acts constitute infringement of the
    10   ’265 patent in violation of 35 U.S.C. § 271(b).
    11         52.    Upon information and belief, Defendant actively induces users to
    12   directly infringe the asserted claims of the ’265 patent. By way of example
    13   only, upon information and belief, Defendant actively induces direct
    14   infringement of the ’265 patent by providing directions, demonstrations, guides,
    15   manuals, training for use, and/or other materials necessary for the use of the
    16   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    17   Upon information and belief, Defendant knew or should have known that these
    18   activities would cause direct infringement.
    19         53.    Upon information and belief, Defendant’s acts constitute
    20   contributory infringement of the ’265 patent in violation of 35 U.S.C. § 271(c).
    21   Upon information and belief, Defendant contributorily infringes because, among
    22   other things, Defendant offers to sell and/or sells within the United States,
    23   and/or imports into the United States, components of the Apple Watch Series 4
    24   and later devices and Apple iPhones that constitute material parts of the
    25   invention of the asserted claims of the ’265 patent, are not staple articles or
    26   commodities of commerce suitable for substantial non-infringing use and are
    27   known by Defendant to be especially made or especially adapted for use in an
    28   infringement of the ’265 patent.
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     1         54.    Defendant’s infringement of the ’265 patent is willful, deliberate,
     2   and intentional by continuing its acts of infringement after becoming aware of
     3   the ’265 patent and its infringement thereof, thus acting in reckless disregard of
     4   Masimo’s patent rights.
     5         55.    Because of Defendant’s infringement of the ’265 patent, Masimo
     6   has suffered and will continue to suffer irreparable harm and injury, including
     7   monetary damages in an amount to be determined at trial.
     8         56.    Upon information and belief, unless enjoined, Defendant, and/or
     9   others acting on behalf of Defendant, will continue their infringing acts, thereby
    10   causing additional irreparable injury to Masimo for which there is no adequate
    11   remedy at law.
    12                       VIII. SECOND CAUSE OF ACTION
    13               (INFRINGEMENT OF U.S. PATENT NO. 10,258,266)
    14         57.    Plaintiff Masimo hereby realleges and incorporates by reference
    15   the allegations set forth in paragraphs 1 through 42.
    16         58.    Upon information and belief, Defendant’s products, including at
    17   least the Apple Watch Series 4 and later devices, infringe at least Claims 1-19 of
    18   the ’266 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    19         59.    Upon information and belief, Defendant has directly infringed one
    20   or more claims of the ’266 patent through manufacture, use, sale, offer for sale,
    21   and/or importation into the United States of physiological monitors, including
    22   the Apple Watch Series 4 and later devices.
    23         60.    For example, upon information and belief, in operation, the Apple
    24   Watch Series 4 and later devices 4 and 5 devices include all of the limitations of
    25   Claim 1 of the ’266 patent as set forth herein and further illustrated in the claim
    26   chart shown in Exhibit 14. The Apple Watch Series 4 and later devices provide
    27   an indication of a physiological parameter (for example, heart rate) of the
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     1   wearer as shown in the image below found on the Apple website at
     2   https://www.apple.com/apple-watch-series-4/health/:
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    12         61.   The Apple Watch Series 4 and later devices include a plurality of
    13   emitters that emit light into tissue of a user and a plurality of detectors (for
    14   example, photodiode sensors) that detect light that has been attenuated by tissue
    15   of the user as shown in the image below found on the Apple website at
    16   https://support.apple.com/en-us/HT204666:
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    27         62.   The Apple Watch Series 4 and later devices include a housing
    28   configured to house the detectors and a lens located between the tissue of the
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Case 8:20-cv-00048-JVS-JDE Document 28 Filed 03/25/20 Page 18 of 95 Page ID #:1330




     1   user and the detectors.     Fig. 4C and the corresponding text of the ’912
     2   publication show, for example, such housing:
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               63.    Upon information and belief, the lens has a single outwardly
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         protruding convex surface configured to cause tissue of the user to conform to
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         the protruding convex surface during operation of the noninvasive optical
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         physiological sensor.
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               64.    Upon information and belief, Defendant has knowledge of
    22
         Masimo’s patents, including the ’266 patent, at least based on O’Reilly and
    23
         Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
    24
         applications that led to the ’266 patent in August 2008, while O’Reilly and
    25
         Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
    26
         the ’266 patent. Defendant had knowledge of the ’266 patent no later than the
    27
         filing of the original Complaint.
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     1         65.      Upon information and belief, Defendant has actively induced
     2   others to infringe the ’266 patent by marketing and selling the above Apple
     3   Watch Series 4 and later devices, knowing and intending that such systems
     4   would be used by customers and end users in a manner that infringes the
     5   ’266 patent. To that end, Defendant provides instructions and teachings to its
     6   customers and end users that such Apple Watch Series 4 and later devices be
     7   used to infringe the ’266 patent. Defendant’s acts constitute infringement of the
     8   ’266 patent in violation of 35 U.S.C. § 271(b).
     9         66.      Upon information and belief, Defendant actively induces users to
    10   directly infringe the asserted claims of the ’266 patent. By way of example
    11   only, upon information and belief, Defendant actively induces direct
    12   infringement of the ’266 patent by providing directions, demonstrations, guides,
    13   manuals, training for use, and/or other materials necessary for the use of the
    14   Apple Watch Series 4 and later devices.           Upon information and belief,
    15   Defendant knew or should have known that these activities would cause direct
    16   infringement.
    17         67.      Upon information and belief, Defendant’s acts constitute
    18   contributory infringement of the ’266 patent in violation of 35 U.S.C. § 271(c).
    19   Upon information and belief, Defendant contributorily infringes because, among
    20   other things, Defendant offers to sell and/or sells within the United States,
    21   and/or imports into the United States, components of the Apple Watch Series 4
    22   and later devices that constitute material parts of the invention of the asserted
    23   claims of the ’266 patent, are not staple articles or commodities of commerce
    24   suitable for substantial non-infringing use and are known by Defendant to be
    25   especially made or especially adapted for use in an infringement of the
    26   ’266 patent.
    27         68.      Defendant’s infringement of the ’266 patent is willful, deliberate,
    28   and intentional by continuing its acts of infringement after becoming aware of
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     1   the ’266 patent and its infringement thereof, thus acting in reckless disregard of
     2   Masimo’s patent rights.
     3         69.      Because of Defendant’s infringement of the ’266 patent, Masimo
     4   has suffered and will continue to suffer irreparable harm and injury, including
     5   monetary damages in an amount to be determined at trial.
     6         70.      Upon information and belief, unless enjoined, Defendant, and/or
     7   others acting on behalf of Defendant, will continue their infringing acts, thereby
     8   causing additional irreparable injury to Masimo for which there is no adequate
     9   remedy at law.
    10                          IX. THIRD CAUSE OF ACTION
    11                 (INFRINGEMENT OF U.S. PATENT NO. 10,292,628)
    12         71.      Plaintiff Masimo hereby realleges and incorporates by reference
    13   the allegations set forth in paragraphs 1 through 42.
    14         72.      Upon information and belief, Defendant’s products, including at
    15   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    16   ’628 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    17         73.      Upon information and belief, Defendant has directly infringed one
    18   or more claims of the ’628 patent through manufacture, use, sale, offer for sale,
    19   and/or importation into the United States of physiological monitors, including
    20   the Apple Watch Series 4 and later devices.
    21         74.      For example, upon information and belief, in operation, the Apple
    22   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    23   ’628 patent as set forth herein and further illustrated in the claim chart shown in
    24   Exhibit 15.
    25         75.      The Apple Watch Series 4 and later devices include a housing
    26   configured to house a plurality of detectors. Fig. 4C and the corresponding text
    27   of the ’912 publication show, for example, such housing:
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                 76.   The Apple Watch Series 4 and later devices include a plurality of
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         emitters that emit light into tissue of a user and a plurality of detectors that
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         detect light that has been attenuated by tissue of the user as shown in the image
    18
         below     found   on   the   Apple   website   at   https://support.apple.com/en-
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         us/HT204666:
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               77.    The Apple Watch Series 4 and later devices include a light

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         permeable cover configured to be located between tissue of the user and the

    13
         plurality of detectors when the noninvasive optical physiological sensor is worn

    14
         by the user, wherein the cover comprises an outwardly protruding convex

    15
         surface configured to cause tissue of the user to conform to at least a portion of

    16
         the outwardly protruding convex surface when the noninvasive optical

    17
         physiological sensor is worn by the user and during operation of the noninvasive

    18
         optical physiological sensor, and wherein the plurality of detectors are

    19
         configured to receive light passed through the outwardly protruding convex

    20
         surface after attenuation by tissue of the user. Fig. 4C and the corresponding

    21
         text of the ’912 publication show, for example, such cover:

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               78.    Upon information and belief, Defendant has knowledge of
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         Masimo’s patents, including the ’628 patent, at least based on O’Reilly and
    16
         Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
    17
         applications that led to the ’628 patent in August 2008, while O’Reilly and
    18
         Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
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         the ’628 patent. Defendant had knowledge of the ’628 patent no later than the
    20
         filing of the original Complaint.
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               79.    Upon information and belief, Defendant has actively induced
    22
         others to infringe the ’628 patent by marketing and selling the above Apple
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         Watch Series 4 and later devices, knowing and intending that such systems
    24
         would be used by customers and end users in a manner that infringes the
    25
         ’628 patent. To that end, Defendant provides instructions and teachings to its
    26
         customers and end users that such Apple Watch Series 4 and later devices be
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Case 8:20-cv-00048-JVS-JDE Document 28 Filed 03/25/20 Page 24 of 95 Page ID #:1336




     1   used to infringe the ’628 patent. Defendant’s acts constitute infringement of the
     2   ’628 patent in violation of 35 U.S.C. § 271(b).
     3         80.    Upon information and belief, Defendant actively induces users to
     4   directly infringe the asserted claims of the ’628 patent. By way of example
     5   only, upon information and belief, Defendant actively induces direct
     6   infringement of the ’628 patent by providing directions, demonstrations, guides,
     7   manuals, training for use, and/or other materials necessary for the use of the
     8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
     9   Upon information and belief, Defendant knew or should have known that these
    10   activities would cause direct infringement.
    11         81.    Upon information and belief, Defendant’s acts constitute
    12   contributory infringement of the ’628 patent in violation of 35 U.S.C. § 271(c).
    13   Upon information and belief, Defendant contributorily infringes because, among
    14   other things, Defendant offers to sell and/or sells within the United States,
    15   and/or imports into the United States, components of the Apple Watch Series 4
    16   and later devices and Apple iPhones that constitute material parts of the
    17   invention of the asserted claims of the ’628 patent, are not staple articles or
    18   commodities of commerce suitable for substantial non-infringing use, and are
    19   known by Defendant to be especially made or especially adapted for use in an
    20   infringement of the ’628 patent.
    21         82.    Defendant’s infringement of the ’628 patent is willful, deliberate,
    22   and intentional by continuing its acts of infringement after becoming aware of
    23   the ’628 patent and its infringement thereof, thus acting in reckless disregard of
    24   Masimo’s patent rights.
    25         83.    Because of Defendant’s infringement of the ’628 patent, Masimo
    26   has suffered and will continue to suffer irreparable harm and injury, including
    27   monetary damages in an amount to be determined at trial.
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     1         84.    Upon information and belief, unless enjoined, Defendant, and/or
     2   others acting on behalf of Defendant, will continue their infringing acts, thereby
     3   causing additional irreparable injury to Masimo for which there is no adequate
     4   remedy at law.
     5                         X. FOURTH CAUSE OF ACTION
     6               (INFRINGEMENT OF U.S. PATENT NO. 10,299,708)
     7         85.    Plaintiff Masimo hereby realleges and incorporates by reference
     8   the allegations set forth in paragraphs 1 through 42.
     9         86.    Upon information and belief, Defendant’s products, including at
    10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    11   ’708 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    12         87.    Upon information and belief, Defendant has directly infringed one
    13   or more claims of the ’708 patent through manufacture, use, sale, offer for sale,
    14   and/or importation into the United States of physiological monitors, including
    15   the Apple Watch Series 4 and later devices.
    16         88.    For example, upon information and belief, in operation, the Apple
    17   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    18   ’708 patent as set forth herein and further illustrated in the claim chart shown in
    19   Exhibit 16. The Apple Watch Series 4 and later devices are adapted to be worn
    20   by a wearer and provide an indication of a physiological parameter (for
    21   example, heart rate) of the wearer as shown in the image below found on the
    22   Apple website at https://www.apple.com/apple-watch-series-4/health/:
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    10         89.   The Apple Watch Series 4 and later devices include a platform
    11   including a planar surface, a housing including a raised edge portion extending
    12   from and enclosing at least a portion of the planar surface, and the housing
    13   including a protruding light permeable cover. Fig. 4C and the corresponding
    14   text of the ’912 publication show, for example, such platform and housing:
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Case 8:20-cv-00048-JVS-JDE Document 28 Filed 03/25/20 Page 27 of 95 Page ID #:1339




     1         90.    Upon information and belief, the Apple Watch Series 4 and later
     2   devices include at least four detectors (for example, photodiode sensors)
     3   arranged on the planar surface of the platform and within the housing, wherein
     4   the at least four detectors are arranged in a grid pattern such that a first detector
     5   and a second detector are arranged across from each other on opposite sides of a
     6   central point along a first axis, and a third detector and a fourth detector are
     7   arranged across from each other on opposite sides of the central point along a
     8   second axis which is perpendicular to the first axis as shown in the image below
     9   found on the Apple website at https://support.apple.com/en-us/HT204666:
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               91.    Upon information and belief, Defendant has knowledge of

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         Masimo’s patents, including the ’708 patent, at least based on O’Reilly and

    22
         Lamego’s former positions with Plaintiffs. Masimo filed provisional patent

    23
         applications that led to the ’708 patent in August 2008, while O’Reilly and

    24
         Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of

    25
         the ’708 patent. Defendant had knowledge of the ’708 patent no later than the

    26
         filing of the original Complaint.

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               92.    Upon information and belief, Defendant has actively induced

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         others to infringe the ’708 patent by marketing and selling the above Apple

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Case 8:20-cv-00048-JVS-JDE Document 28 Filed 03/25/20 Page 28 of 95 Page ID #:1340




     1   Watch Series 4 and later devices, knowing and intending that such systems
     2   would be used by customers and end users in a manner that infringes the
     3   ’708 patent. To that end, Defendant provides instructions and teachings to its
     4   customers and end users that such Apple Watch Series 4 and later devices be
     5   used to infringe the ’708 patent. Defendant’s acts constitute infringement of the
     6   ’708 patent in violation of 35 U.S.C. § 271(b).
     7         93.    Upon information and belief, Defendant actively induces users to
     8   directly infringe the asserted claims of the ’708 patent. By way of example
     9   only, upon information and belief, Defendant actively induces direct
    10   infringement of the ’708 patent by providing directions, demonstrations, guides,
    11   manuals, training for use, and/or other materials necessary for the use of the
    12   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    13   Upon information and belief, Defendant knew or should have known that these
    14   activities would cause direct infringement.
    15         94.    Upon information and belief, Defendant’s acts constitute
    16   contributory infringement of the ’708 patent in violation of 35 U.S.C. § 271(c).
    17   Upon information and belief, Defendant contributorily infringes because, among
    18   other things, Defendant offers to sell and/or sells within the United States,
    19   and/or imports into the United States, components of the Apple Watch Series 4
    20   and later devices and Apple iPhones that constitute material parts of the
    21   invention of the asserted claims of the ’708 patent, are not staple articles or
    22   commodities of commerce suitable for substantial non-infringing use, and are
    23   known by Defendant to be especially made or especially adapted for use in an
    24   infringement of the ’708 patent.
    25         95.    Defendant’s infringement of the ’708 patent is willful, deliberate,
    26   and intentional by continuing its acts of infringement after becoming aware of
    27   the ’708 patent and its infringement thereof, thus acting in reckless disregard of
    28   Masimo’s patent rights.
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Case 8:20-cv-00048-JVS-JDE Document 28 Filed 03/25/20 Page 29 of 95 Page ID #:1341




     1         96.    Because of Defendant’s infringement of the ’708 patent, Masimo
     2   has suffered and will continue to suffer irreparable harm and injury, including
     3   monetary damages in an amount to be determined at trial.
     4         97.    Upon information and belief, unless enjoined, Defendant, and/or
     5   others acting on behalf of Defendant, will continue their infringing acts, thereby
     6   causing additional irreparable injury to Masimo for which there is no adequate
     7   remedy at law.
     8                          XI. FIFTH CAUSE OF ACTION
     9               (INFRINGEMENT OF U.S. PATENT NO. 10,376,190)
    10         98.    Plaintiff Masimo hereby realleges and incorporates by reference
    11   the allegations set forth in paragraphs 1 through 42.
    12         99.    Upon information and belief, Defendant’s products, including at
    13   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    14   ’190 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    15         100. Upon information and belief, Defendant has directly infringed one
    16   or more claims of the ’190 patent through manufacture, use, sale, offer for sale,
    17   and/or importation into the United States of physiological monitors, including
    18   the Apple Watch Series 4 and later devices.
    19         101. For example, upon information and belief, in operation, the Apple
    20   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    21   ’190 patent as set forth herein and further illustrated in the claim chart shown in
    22   Exhibit 17. The Apple Watch Series 4 and later devices are noninvasive optical
    23   physiological measurement devices adapted to be worn by a wearer, the
    24   noninvasive optical physiological measurement device providing an indication
    25   of a physiological parameter (for example, heart rate) of the wearer as shown in
    26   the image below found on the Apple website at https://www.apple.com/apple-
    27   watch-series-4/health/:
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    10           102. Upon information and belief, the Apple Watch Series 4 and later
    11   devices include light emitters and at least four detectors spaced apart from each
    12   other and configured to output one or more signals responsive to light from the
    13   one or more light emitters attenuated by body tissue, the one or more signals
    14   indicative of a physiological parameter of the wearer as shown in the image
    15   below     found   on   the   Apple   website   at   https://support.apple.com/en-
    16   us/HT204666:
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    27           103. The Apple Watch Series 4 and later devices include a housing
    28   having a surface and a circular raised edge extending from the surface, and a
                                               -29-
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     1   light permeable cover arranged above at least a portion of the housing, the light
     2   permeable cover comprising a protrusion arranged to cover the at least four
     3   detectors. Fig. 4C and the corresponding text of the ’912 publication show, for
     4   example, such housing:
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               104. Upon information and belief, Defendant has knowledge of
    20
         Masimo’s patents, including the ’190 patent, at least based on O’Reilly and
    21
         Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
    22
         applications that led to the ’190 patent in August 2008, while O’Reilly and
    23
         Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
    24
         the ’190 patent. Defendant had knowledge of the ’190 patent no later than the
    25
         filing of the original Complaint.
    26
               105. Upon information and belief, Defendant has actively induced
    27
         others to infringe the ’190 patent by marketing and selling the above Apple
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     1   Watch Series 4 and later devices, knowing and intending that such systems
     2   would be used by customers and end users in a manner that infringes the
     3   ’190 patent. To that end, Defendant provides instructions and teachings to its
     4   customers and end users that such Apple Watch Series 4 and later devices be
     5   used to infringe the ’190 patent. Defendant’s acts constitute infringement of the
     6   ’190 patent in violation of 35 U.S.C. § 271(b).
     7         106. Upon information and belief, Defendant actively induces users to
     8   directly infringe the asserted claims of the ’190 patent. By way of example
     9   only, upon information and belief, Defendant actively induces direct
    10   infringement of the ’190 patent by providing directions, demonstrations, guides,
    11   manuals, training for use, and/or other materials necessary for the use of the
    12   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    13   Upon information and belief, Defendant knew or should have known that these
    14   activities would cause direct infringement.
    15         107. Upon information and belief, Defendant’s acts constitute
    16   contributory infringement of the ’190 patent in violation of 35 U.S.C. § 271(c).
    17   Upon information and belief, Defendant contributorily infringes because, among
    18   other things, Defendant offers to sell and/or sells within the United States,
    19   and/or imports into the United States, components of the Apple Watch Series 4
    20   and later devices and Apple iPhones that constitute material parts of the
    21   invention of the asserted claims of the ’190 patent, are not staple articles or
    22   commodities of commerce suitable for substantial non-infringing use, and are
    23   known by Defendant to be especially made or especially adapted for use in an
    24   infringement of the ’190 patent.
    25         108. Defendant’s infringement of the ’190 patent is willful, deliberate,
    26   and intentional by continuing its acts of infringement after becoming aware of
    27   the ’190 patent and its infringement thereof, thus acting in reckless disregard of
    28   Masimo’s patent rights.
                                               -31-
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     1         109. Because of Defendant’s infringement of the ’190 patent, Masimo
     2   has suffered and will continue to suffer irreparable harm and injury, including
     3   monetary damages in an amount to be determined at trial.
     4         110. Upon information and belief, unless enjoined, Defendant, and/or
     5   others acting on behalf of Defendant, will continue their infringing acts, thereby
     6   causing additional irreparable injury to Masimo for which there is no adequate
     7   remedy at law.
     8                         XII. SIXTH CAUSE OF ACTION
     9              (INFRINGEMENT OF U.S. PATENT NO. 10,376,191)
    10         111. Plaintiff Masimo hereby realleges and incorporates by reference
    11   the allegations set forth in paragraphs 1 through 42.
    12         112. Upon information and belief, Defendant’s products, including at
    13   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    14   ’191 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    15         113. Upon information and belief, Defendant has directly infringed one
    16   or more claims of the ’191 patent through manufacture, use, sale, offer for sale,
    17   and/or importation into the United States of physiological monitors, including
    18   the Apple Watch Series 4 and later devices.
    19         114. For example, upon information and belief, in operation, the Apple
    20   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    21   ’191 patent as set forth herein and further illustrated in the claim chart shown in
    22   Exhibit 18. The Apple Watch Series 4 and later devices are a noninvasive
    23   optical physiological sensor as shown in the image below found on the Apple
    24   website at https://www.apple.com/apple-watch-series-4/health/:
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    10           115. The Apple Watch Series 4 and later devices include a plurality of
    11   emitters configured to emit light into tissue of a user and a plurality of detectors
    12   configured to detect light that has been attenuated by tissue of the user, wherein
    13   the plurality of detectors comprise at least four detectors as shown in the image
    14   below     found   on   the   Apple    website   at   https://support.apple.com/en-
    15   us/HT204666:
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    26           116. The Apple Watch Series 4 and later devices include a housing
    27   configured to house at least the plurality of detectors in a circular portion of the
    28   housing, and a lens configured to be located between tissue of the user and the
                                                -33-
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     1   plurality of detectors when the noninvasive optical physiological sensor is worn
     2   by the user, wherein the lens comprises a single outwardly protruding convex
     3   surface configured to cause tissue of the user to conform to at least a portion of
     4   the single outwardly protruding convex surface when the noninvasive optical
     5   physiological sensor is worn by the user and during operation of the noninvasive
     6   optical physiological sensor. Fig. 4C and the corresponding text of the ’912
     7   publication show, for example, such housing and lens:
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               117. Upon information and belief, Defendant has knowledge of
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         Masimo’s patents, including the ’191 patent, at least based on O’Reilly and
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         Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
    26
         applications that led to the ’191 patent in August 2008, while O’Reilly and
    27
         Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
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     1   the ’191 patent. Defendant had knowledge of the ’191 patent no later than the
     2   filing of the original Complaint.
     3         118. Upon information and belief, Defendant has actively induced
     4   others to infringe the ’191 patent by marketing and selling the above Apple
     5   Watch Series 4 and later devices, knowing and intending that such systems
     6   would be used by customers and end users in a manner that infringes the
     7   ’191 patent. To that end, Defendant provides instructions and teachings to its
     8   customers and end users that such Apple Watch Series 4 and later devices be
     9   used to infringe the ’191 patent. Defendant’s acts constitute infringement of the
    10   ’191 patent in violation of 35 U.S.C. § 271(b).
    11         119. Upon information and belief, Defendant actively induces users to
    12   directly infringe the asserted claims of the ’191 patent. By way of example
    13   only, upon information and belief, Defendant actively induces direct
    14   infringement of the ’191 patent by providing directions, demonstrations, guides,
    15   manuals, training for use, and/or other materials necessary for the use of the
    16   Apple Watch Series 4 and later devices.           Upon information and belief,
    17   Defendant knew or should have known that these activities would cause direct
    18   infringement.
    19         120. Upon information and belief, Defendant’s acts constitute
    20   contributory infringement of the ’191 patent in violation of 35 U.S.C. § 271(c).
    21   Upon information and belief, Defendant contributorily infringes because, among
    22   other things, Defendant offers to sell and/or sells within the United States,
    23   and/or imports into the United States, components of the Apple Watch Series 4
    24   and later devices that constitute material parts of the invention of the asserted
    25   claims of the ’191 patent, are not staple articles or commodities of commerce
    26   suitable for substantial non-infringing use, and are known by Defendant to be
    27   especially made or especially adapted for use in an infringement of the
    28   ’191 patent.
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     1         121. Defendant’s infringement of the ’191 patent is willful, deliberate,
     2   and intentional by continuing its acts of infringement after becoming aware of
     3   the ’191 patent and its infringement thereof, thus acting in reckless disregard of
     4   Masimo’s patent rights.
     5         122. Because of Defendant’s infringement of the ’191 patent, Masimo
     6   has suffered and will continue to suffer irreparable harm and injury, including
     7   monetary damages in an amount to be determined at trial.
     8         123. Upon information and belief, unless enjoined, Defendant, and/or
     9   others acting on behalf of Defendant, will continue their infringing acts, thereby
    10   causing additional irreparable injury to Masimo for which there is no adequate
    11   remedy at law.
    12                       XIII. SEVENTH CAUSE OF ACTION
    13                 (INFRINGEMENT OF U.S. PATENT NO. 10,470,695)
    14         124. Plaintiff Masimo hereby realleges and incorporates by reference
    15   the allegations set forth in paragraphs 1 through 42.
    16         125. Upon information and belief, Defendant’s products, including at
    17   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    18   ’695 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    19         126. Upon information and belief, Defendant has directly infringed one
    20   or more claims of the ’695 patent through manufacture, use, sale, offer for sale,
    21   and/or importation into the United States of physiological monitors, including
    22   the Apple Watch Series 4 and later devices.
    23         127. For example, upon information and belief, in operation, the Apple
    24   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    25   ’695 patent as set forth herein and further illustrated in the claim chart shown in
    26   Exhibit 19.    The Apple Watch Series 4 and later devices are a wrist-worn
    27   physiological monitoring device configured for placement on a user at a tissue
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     1   measurement site as shown in the image below found on the Apple website at
     2   https://www.apple.com/apple-watch-series-4/health/:
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    12         128. The Apple Watch Series 4 and later devices include a light
    13   emission source comprising a plurality of emitters configured to irradiate the
    14   tissue measurement site by emitting light towards the tissue measurement site,
    15   the tissue measurement site being located on a wrist of the user, the plurality of
    16   emitters configured to emit one or more wavelengths and a plurality of detectors
    17   configured to detect the light emitted by the plurality of emitters after
    18   attenuation by a circular portion of the tissue measurement site, the plurality of
    19   detectors further configured to output at least one signal responsive to the
    20   detected light as shown in the image below found on the Apple website at
    21   https://support.apple.com/en-us/HT204666:
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               129. The Apple Watch Series 4 and later devices include a processor

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         configured to receive the at least one signal responsive to the output and

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         determine a physiological parameter of the user and a light block forming an

    13
         enclosing wall between the light emission source and the plurality of detectors,

    14
         the light block defining the circular portion of the tissue measurement site, the

    15
         light emission source arranged proximate a first side of the enclosing wall and

    16
         the plurality of detectors arranged proximate a second side of the enclosing wall,

    17
         the first side being different than the second side, wherein the enclosing wall

    18
         prevents at least a portion of light emitted from the light emission source from

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         being detected by the plurality of detectors without attenuation by the tissue,

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         and wherein the plurality of detectors are arranged in an array having a spatial

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         configuration corresponding to the portion of the tissue measurement site. Fig.

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         4C and the corresponding text of the ’912 publication show, for example, such

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         light block:

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    14         130. Upon information and belief, Defendant has knowledge of
    15   Masimo’s patents, including the ’695 patent, at least based on O’Reilly and
    16   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
    17   applications that led to the ’695 patent in August 2008, while O’Reilly and
    18   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
    19   the ’695 patent. Defendant had knowledge of the ’695 patent no later than the
    20   filing of the original Complaint.
    21         131. Upon information and belief, Defendant has actively induced
    22   others to infringe the ’695 patent by marketing and selling the above Apple
    23   Watch Series 4 and later devices, knowing and intending that such systems
    24   would be used by customers and end users in a manner that infringes the
    25   ’695 patent. To that end, Defendant provides instructions and teachings to its
    26   customers and end users that such Apple Watch Series 4 and later devices be
    27   used to infringe the ’695 patent. Defendant’s acts constitute infringement of the
    28   ’695 patent in violation of 35 U.S.C. § 271(b).
                                               -39-
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     1         132. Upon information and belief, Defendant actively induces users to
     2   directly infringe the asserted claims of the ’695 patent. By way of example
     3   only, upon information and belief, Defendant actively induces direct
     4   infringement of the ’695 patent by providing directions, demonstrations, guides,
     5   manuals, training for use, and/or other materials necessary for the use of the
     6   Apple Watch Series 4 and later devices.          Upon information and belief,
     7   Defendant knew or should have known that these activities would cause direct
     8   infringement.
     9         133. Upon information and belief, Defendant’s acts constitute
    10   contributory infringement of the ’695 patent in violation of 35 U.S.C. § 271(c).
    11   Upon information and belief, Defendant contributorily infringes because, among
    12   other things, Defendant offers to sell and/or sells within the United States,
    13   and/or imports into the United States, components of the Apple Watch Series 4
    14   and later devices that constitute material parts of the invention of the asserted
    15   claims of the ’695 patent, are not staple articles or commodities of commerce
    16   suitable for substantial non-infringing use, and are known by Defendant to be
    17   especially made or especially adapted for use in an infringement of the
    18   ’695 patent.
    19         134. Defendant’s infringement of the ’695 patent is willful, deliberate,
    20   and intentional by continuing its acts of infringement after becoming aware of
    21   the ’695 patent and its infringement thereof, thus acting in reckless disregard of
    22   Masimo’s patent rights.
    23         135. Because of Defendant’s infringement of the ’695 patent, Masimo
    24   has suffered and will continue to suffer irreparable harm and injury, including
    25   monetary damages in an amount to be determined at trial.
    26         136. Upon information and belief, unless enjoined, Defendant, and/or
    27   others acting on behalf of Defendant, will continue their infringing acts, thereby
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     1   causing additional irreparable injury to Masimo for which there is no adequate
     2   remedy at law.
     3                       XIV. EIGHTH CAUSE OF ACTION
     4               (INFRINGEMENT OF U.S. PATENT NO. 6,771,994)
     5         137. Plaintiff Masimo hereby realleges and incorporates by reference
     6   the allegations set forth in paragraphs 1 through 42.
     7         138. Upon information and belief, Defendant’s products, including at
     8   least the Apple Watch Series 4 and later devices, infringe at least Claim 15 of
     9   the ’994 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    10         139. Upon information and belief, Defendant has directly infringed one
    11   or more claims of the ’994 patent through manufacture, use, sale, offer for sale,
    12   and/or importation into the United States of physiological monitors, including
    13   the Apple Watch Series 4 and later devices.
    14         140. For example, upon information and belief, in operation, the Apple
    15   Watch Series 4 and later devices include all of the limitations of Claim 15 of the
    16   ’994 patent as set forth herein and further illustrated in the claim chart shown in
    17   Exhibit 20. Upon information and belief, the Apple Watch Series 4 and later
    18   devices detects light transmitted through body tissue carrying pulsing blood to
    19   determine heart rate as shown in the image below found on the Apple website at
    20   https://www.apple.com/apple-watch-series-4/health/:
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    10         141. The Apple Watch Series 4 and later devices include at least one
    11   light emission device and a light sensitive detector as shown in the image below
    12   found on the Apple website at https://support.apple.com/en-us/HT204666:
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    23         142. The detectors output signals responsive to light from the light
    24   emitters attenuated by body tissue. Upon information and belief, the signals are
    25   indicative of a physiological parameter (for example, heart rate) of the wearer.
    26         143. Upon information and belief, the relevant technology in the Apple
    27   Watch Series 4 and later devices is described in the below citations to U.S.
    28   Patent Application Publication 2019/0090806 (the ’806 publication). A copy of
                                                -42-
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     1   the publication is attached as Exhibit 26. The Apple Watch Series 4 and later
     2   devices include a plurality of louvers positioned over the light sensitive detector
     3   to accept light from the at least one light emission device originating from a
     4   general direction of the at least one light emission device and then transmitting
     5   through body tissue carrying pulsing blood, wherein the louvers accept the light
     6   when the sensor is properly applied to tissue of a patient. Upon information and
     7   belief, this technology is described, for example, in Fig. 7 and the corresponding
     8   text of the ’806 publication:
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    12         144. Upon information and belief, Defendant has knowledge of
    13   Masimo’s patents, including the ’994 patent, at least based on O’Reilly and
    14   Lamego’s former positions with Plaintiffs. Masimo filed a patent application
    15   that led to the ’994 patent on June 16, 2000. The ’994 patent issued on August
    16   3, 2004, and Masimo has maintained the patent while O’Reilly and Lamego
    17   were with Masimo and/or Cercacor.            Defendant had knowledge of the
    18   ’994 patent no later than the filing of the original Complaint.
    19         145. Upon information and belief, Defendant has actively induced
    20   others to infringe the ’994 patent by marketing and selling the above Apple
    21   Watch Series 4 and later devices, knowing and intending that such systems
    22   would be used by customers and end users in a manner that infringes the
    23   ’994 patent. To that end, Defendant provides instructions and teachings to its
    24   customers and end users that such Apple Watch Series 4 and later devices be
    25   used to infringe the ’994 patent. Defendant’s acts constitute infringement of the
    26   ’994 patent in violation of 35 U.S.C. § 271(b).
    27         146. Upon information and belief, Defendant actively induces users to
    28   directly infringe the asserted claims of the ’994 patent. By way of example
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     1   only, upon information and belief, Defendant actively induces direct
     2   infringement of the ’994 patent by providing directions, demonstrations, guides,
     3   manuals, training for use, and/or other materials necessary for the use of the
     4   Apple Watch Series 4 and later devices.          Upon information and belief,
     5   Defendant knew or should have known that these activities would cause direct
     6   infringement.
     7         147. Upon information and belief, Defendant’s acts constitute
     8   contributory infringement of the ’994 patent in violation of 35 U.S.C. § 271(c).
     9   Upon information and belief, Defendant contributorily infringes because, among
    10   other things, Defendant offers to sell and/or sells within the United States,
    11   and/or imports into the United States, components of the Apple Watch Series 4
    12   and later devices that constitute material parts of the invention of the asserted
    13   claims of the ’994 patent, are not staple articles or commodities of commerce
    14   suitable for substantial non-infringing use, and are known by Defendant to be
    15   especially made or especially adapted for use in an infringement of the
    16   ’994 patent.
    17         148. Defendant’s infringement of the ’994 patent is willful, deliberate,
    18   and intentional by continuing its acts of infringement after becoming aware of
    19   the ’994 patent and its infringement thereof, thus acting in reckless disregard of
    20   Masimo’s patent rights.
    21         149. Because of Defendant’s infringement of the ’994 patent, Masimo
    22   has suffered and will continue to suffer irreparable harm and injury, including
    23   monetary damages in an amount to be determined at trial.
    24         150. Upon information and belief, unless enjoined, Defendant, and/or
    25   others acting on behalf of Defendant, will continue their infringing acts, thereby
    26   causing additional irreparable injury to Masimo for which there is no adequate
    27   remedy at law.
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     1                         XV. NINTH CAUSE OF ACTION
     2               (INFRINGEMENT OF U.S. PATENT NO. 8,457,703)
     3         151. Plaintiff Masimo hereby realleges and incorporates by reference
     4   the allegations set forth in paragraphs 1 through 42.
     5         152. Upon information and belief, Defendant’s products, including at
     6   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
     7   ’703 patent under at least 35 U.S.C. § 271(a), (b), and (c).
     8         153. Upon information and belief, Defendant has directly infringed one
     9   or more claims of the ’703 patent through manufacture, use, sale, offer for sale,
    10   and/or importation into the United States of physiological monitors, including
    11   the Apple Watch Series 4 and later devices.
    12         154. For example, upon information and belief, in operation, the Apple
    13   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    14   ’703 patent as set forth herein and further illustrated in the claim chart shown in
    15   Exhibit 21. The Apple Watch Series 4 and later devices provide an indication of
    16   a physiological parameter (for example, heart rate) of the wearer as shown in the
    17   image below found on the Apple website at https://www.apple.com/apple-
    18   watch-series-4/health/:
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     1         155. The Apple Watch Series 4 and later devices drive one or more light
     2   sources configured to emit light into tissue and receives one or more signals
     3   from one or more detectors configured to detect light after attenuation by tissue
     4   as   shown   in   the   image    below    found   on   the     Apple   website     at
     5   https://support.apple.com/en-us/HT204666:
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               156. The detectors output signals responsive to light from the light

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         emitters attenuated by body tissue. Upon information and belief, the signals are

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         indicative of a physiological parameter (for example, heart rate) of the wearer.

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               157. Upon information and belief, the Apple Watch Series 4 and later

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         devices continuously operate at a lower power consumption level to determine

    21
         measurement values for heart rate, as described at https://support.apple.com/en-

    22
         us/HT204666:

    23
               The optical heart sensor in Apple Watch uses what is known as

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               photoplethysmography.      This    technology,   while    difficult   to

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               pronounce, is based on a very simple fact: Blood is red because it

    26
               reflects red light and absorbs green light. Apple Watch uses green

    27
               LED lights paired with light‑sensitive photodiodes to detect the

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               amount of blood flowing through your wrist at any given moment.

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     1         When your heart beats, the blood flow in your wrist — and the
     2         green light absorption — is greater. Between beats, it’s less. By
     3         flashing its LED lights hundreds of times per second, Apple Watch
     4         can calculate the number of times the heart beats each minute —
     5         your heart rate. The optical heart sensor supports a range of 30–210
     6         beats per minute. In addition, the optical heart sensor is designed to
     7         compensate for low signal levels by increasing both LED
     8         brightness and sampling rate.
     9         158. Upon information and belief, the Apple Watch Series 4 and later
    10   devices as described above compare processing characteristics to a
    11   predetermined threshold, and when the processing characteristics pass the
    12   threshold, the Apple Watch Series 4 and later devices transition to continuously
    13   operating at a higher power consumption level, wherein the continuously
    14   operating at the lower power consumption level comprises reducing activation
    15   of an attached sensor, the sensor positioning the light sources and the detectors
    16   proximate to the tissue.
    17         159. Upon information and belief, Defendant has knowledge of
    18   Masimo’s patents, including the ’703 patent, at least based on O’Reilly and
    19   Lamego’s former positions with Plaintiffs. Masimo filed a provisional patent
    20   application that led to the ’703 patent on July 2, 2001. The ’703 patent issued
    21   on June 4, 2013, while O’Reilly and Lamego were with Masimo and/or
    22   Cercacor. Defendant had knowledge of the ’703 patent no later than the filing
    23   of the original Complaint.
    24         160. Upon information and belief, Defendant has actively induced
    25   others to infringe the ’703 patent by marketing and selling the above Apple
    26   Watch Series 4 and later devices, knowing and intending that such systems
    27   would be used by customers and end users in a manner that infringes the
    28   ’703 patent. To that end, Defendant provides instructions and teachings to its
                                               -47-
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     1   customers and end users that such Apple Watch Series 4 and later devices be
     2   used to infringe the ’703 patent. Defendant’s acts constitute infringement of the
     3   ’703 patent in violation of 35 U.S.C. § 271(b).
     4         161. Upon information and belief, Defendant actively induces users to
     5   directly infringe the asserted claims of the ’703 patent. By way of example
     6   only, upon information and belief, Defendant actively induces direct
     7   infringement of the ’703 patent by providing directions, demonstrations, guides,
     8   manuals, training for use, and/or other materials necessary for the use of the
     9   Apple Watch Series 4 and later devices.           Upon information and belief,
    10   Defendant knew or should have known that these activities would cause direct
    11   infringement.
    12         162. Upon information and belief, Defendant’s acts constitute
    13   contributory infringement of the ’703 patent in violation of 35 U.S.C. § 271(c).
    14   Upon information and belief, Defendant contributorily infringes because, among
    15   other things, Defendant offers to sell and/or sells within the United States,
    16   and/or imports into the United States, components of the Apple Watch Series 4
    17   and later devices that constitute material parts of the invention of the asserted
    18   claims of the ’703 patent, are not staple articles or commodities of commerce
    19   suitable for substantial non-infringing use, and are known by Defendant to be
    20   especially made or especially adapted for use in an infringement of the
    21   ’703 patent.
    22         163. Defendant’s infringement of the ’703 patent is willful, deliberate,
    23   and intentional by continuing its acts of infringement after becoming aware of
    24   the ’703 patent and its infringement thereof, thus acting in reckless disregard of
    25   Masimo’s patent rights.
    26         164. Because of Defendant’s infringement of the ’703 patent, Masimo
    27   has suffered and will continue to suffer irreparable harm and injury, including
    28   monetary damages in an amount to be determined at trial.
                                               -48-
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     1         165. Upon information and belief, unless enjoined, Defendant, and/or
     2   others acting on behalf of Defendant, will continue their infringing acts, thereby
     3   causing additional irreparable injury to Masimo for which there is no adequate
     4   remedy at law.
     5                        XVI. TENTH CAUSE OF ACTION
     6              (INFRINGEMENT OF U.S. PATENT NO. 10,433,776)
     7         166. Plaintiff Masimo hereby realleges and incorporates by reference
     8   the allegations set forth in paragraphs 1 through 42.
     9         167. Upon information and belief, Defendant’s products, including at
    10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    11   ’776 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    12         168. Upon information and belief, Defendant has directly infringed one
    13   or more claims of the ’776 patent through manufacture, use, sale, offer for sale,
    14   and/or importation into the United States of physiological monitors, including
    15   the Apple Watch Series 4 and later devices.
    16         169. For example, upon information and belief, in operation, the Apple
    17   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    18   ’776 patent as set forth herein and further illustrated in the claim chart shown in
    19   Exhibit 22. The Apple Watch Series 4 and later devices are configured to
    20   monitor at least a pulse rate of a patient by processing signals responsive to light
    21   attenuated by body tissue of the wearer as shown in the image below found on
    22   the Apple website at https://www.apple.com/apple-watch-series-4/health/:
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    10         170. The Apple Watch Series 4 and later devices drive one or more light
    11   sources configured to emit light into tissue and receives one or more signals
    12   from one or more detectors configured to detect light after attenuation by tissue
    13   as   shown   in   the   image   below    found   on   the   Apple   website    at
    14   https://support.apple.com/en-us/HT204666:
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    26         171. Upon information and belief, the Apple Watch Series 4 and later
    27   devices operate according to a first control protocol, wherein said operating
    28   includes activating a first control protocol light source in accordance with the
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     1   first control protocol, the first control protocol light source including one or
     2   more of a plurality of light sources, and when operating according to the first
     3   control protocol, calculating, by the patient monitor, measurement values of the
     4   pulse rate, the measurement values responsive to light from the first control
     5   protocol light source, detected by a detector of an optical sensor after
     6   attenuation by body tissue of the patient using the patient monitor as explained,
     7   for   example,   on   the   Apple   website    at   https://support.apple.com/en-
     8   us/HT204666.      That webpage explains the optical heart sensor uses
     9   photoplethysmography. “Apple Watch uses green LED lights paired with
    10   light‑sensitive photodiodes to detect the amount of blood flowing through your
    11   wrist at any given moment. When your heart beats, the blood flow in your wrist
    12   — and the green light absorption — is greater. Between beats, it’s less. By
    13   flashing its LED lights hundreds of times per second, Apple Watch can calculate
    14   the number of times the heart beats each minute — your heart rate. The optical
    15   heart sensor supports a range of 30–210 beats per minute. In addition, the
    16   optical heart sensor is designed to compensate for low signal levels by
    17   increasing both LED brightness and sampling rate.” That webpage further
    18   explains that the “optical heart sensor can also use infrared light. This mode is
    19   what Apple Watch uses when it measures your heart rate in the background, and
    20   for heart rate notifications. Apple Watch uses green LED lights to measure your
    21   heart rate during workouts and Breathe sessions, and to calculate walking
    22   average and Heart Rate Variability (HRV).”
    23         172. Upon information and belief, the Apple Watch Series 4 and later
    24   devices generate a trigger signal, wherein generating said trigger signal is
    25   responsive to at least one of: a comparison of processing characteristics to a
    26   predetermined threshold, a physiological event, or signal quality characteristics
    27   of signals received from the detector, and in response to receiving the trigger
    28   signal, operating the patient monitor according to a second control protocol
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     1   different from the first control protocol, wherein said operating includes
     2   activating a second control protocol light source in accordance with the second
     3   control protocol, the second control protocol light source including one or more
     4   of the plurality of light sources, and when operating the patient monitor
     5   according to the second control protocol, calculating the measurement values of
     6   the pulse rate, the measurement values responsive to light from the second
     7   control protocol light source, detected by the detector after attenuation by the
     8   body tissue of the patient using the patient monitor, wherein said operating of
     9   the patient monitor according to the first control protocol operates the first
    10   control protocol light source according to a first duty cycle and said operating of
    11   the patient monitor according to the second control protocol operates the second
    12   control protocol light source according to a second duty cycle, wherein power
    13   consumption of the first control protocol light source according to the first duty
    14   cycle is different than power consumption of the second control protocol light
    15   source according to the second duty cycle.
    16         173. Upon information and belief, Defendant has knowledge of
    17   Masimo’s patents, including the ’776 patent, at least based on O’Reilly and
    18   Lamego’s former positions with Plaintiffs. Masimo filed a provisional patent
    19   application that led to the ’776 patent on July 2, 2001. The ’776 patent issued
    20   on June 4, 2013, while O’Reilly and Lamego were with Masimo and/or
    21   Cercacor. Defendant had knowledge of the ’776 patent no later than the filing
    22   of the original Complaint.
    23         174. Upon information and belief, Defendant has actively induced
    24   others to infringe the ’776 patent by marketing and selling the above Apple
    25   Watch Series 4 and later devices, knowing and intending that such systems
    26   would be used by customers and end users in a manner that infringes the
    27   ’776 patent. To that end, Defendant provides instructions and teachings to its
    28   customers and end users that such Apple Watch Series 4 and later devices be
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     1   used to infringe the ’776 patent. Defendant’s acts constitute infringement of the
     2   ’776 patent in violation of 35 U.S.C. § 271(b).
     3         175. Upon information and belief, Defendant actively induces users to
     4   directly infringe the asserted claims of the ’776 patent. By way of example
     5   only, upon information and belief, Defendant actively induces direct
     6   infringement of the ’776 patent by providing directions, demonstrations, guides,
     7   manuals, training for use, and/or other materials necessary for the use of the
     8   Apple Watch Series 4 and later devices.           Upon information and belief,
     9   Defendant knew or should have known that these activities would cause direct
    10   infringement.
    11         176. Upon information and belief, Defendant’s acts constitute
    12   contributory infringement of the ’776 patent in violation of 35 U.S.C. § 271(c).
    13   Upon information and belief, Defendant contributorily infringes because, among
    14   other things, Defendant offers to sell and/or sells within the United States,
    15   and/or imports into the United States, components of the Apple Watch Series 4
    16   and later devices that constitute material parts of the invention of the asserted
    17   claims of the ’776 patent, are not staple articles or commodities of commerce
    18   suitable for substantial non-infringing use, and are known by Defendant to be
    19   especially made or especially adapted for use in an infringement of the
    20   ’776 patent.
    21         177. Defendant’s infringement of the ’776 patent is willful, deliberate,
    22   and intentional by continuing its acts of infringement after becoming aware of
    23   the ’776 patent and its infringement thereof, thus acting in reckless disregard of
    24   Masimo’s patent rights.
    25         178. Because of Defendant’s infringement of the ’776 patent, Masimo
    26   has suffered and will continue to suffer irreparable harm and injury, including
    27   monetary damages in an amount to be determined at trial.
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     1         179. Upon information and belief, unless enjoined, Defendant, and/or
     2   others acting on behalf of Defendant, will continue their infringing acts, thereby
     3   causing additional irreparable injury to Masimo for which there is no adequate
     4   remedy at law.
     5                     XVII. ELEVENTH CAUSE OF ACTION
     6              (INFRINGEMENT OF U.S. PATENT NO. 10,588,553)
     7         180. Plaintiff Masimo hereby realleges and incorporates by reference
     8   the allegations set forth in paragraphs 1 through 42.
     9         181. Upon information and belief, Defendant’s products, including at
    10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    11   ’553 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    12         182. Upon information and belief, Defendant has directly infringed one
    13   or more claims of the ’553 patent through manufacture, use, sale, offer for sale,
    14   and/or importation into the United States of physiological monitors, including
    15   the Apple Watch Series 4 and later devices.
    16         183. For example, upon information and belief, in operation, the Apple
    17   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
    18   ’553 patent as set forth herein and further illustrated in the claim chart shown in
    19   Exhibit 23. The Apple Watch Series 4 and later devices are noninvasive optical
    20   physiological sensor devices as shown in the image below found on the Apple
    21   website at https://www.apple.com/apple-watch-series-4/health/:
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    10         184. The Apple Watch Series 4 and later devices include a plurality of
    11   emitters configured to emit light into tissue of a user, and at least four detectors,
    12   wherein at least one of the at least four detectors is configured to detect light
    13   that has been attenuated by tissue of the user, and wherein the at least four
    14   detectors are arranged on a substrate as shown in the image below found on the
    15   Apple website at https://support.apple.com/en-us/HT204666:
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    26         185. The detectors output signals responsive to light from the light
    27   emitters attenuated by body tissue. Upon information and belief, the signals are
    28   indicative of a physiological parameter (for example, heart rate) of the wearer.
                                                 -55-
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     1         186. Upon information and belief, the relevant technology in the Apple
     2   Watch Series 4 and later devices is described in the below citations to U.S.
     3   Patent Application Publication 2019/0072912 (the ’912 publication). A copy of
     4   the publication is attached as Exhibit 25. The Apple Watch Series 4 and later
     5   devices include a wall configured to circumscribe at least the at least four
     6   detectors and a cover configured to be located between tissue of the user and the
     7   at least four detectors when the noninvasive optical physiological sensor is worn
     8   by the user, wherein the cover comprises a single protruding convex surface
     9   operable to conform tissue of the user to at least a portion of the single
    10   protruding convex surface when the noninvasive optical physiological sensor is
    11   worn by the user, and wherein the wall operably connects to the substrate and
    12   the cover. Fig. 4C and the corresponding text of the ’912 publication show, for
    13   example, such wall and cover:
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     1         187. Upon information and belief, Defendant has knowledge of
     2   Masimo’s patents, including the ’553 patent, at least based on O’Reilly and
     3   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
     4   applications that led to the ’553 patent in August 2008, while O’Reilly and
     5   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
     6   the ’553 patent. Defendant had knowledge of the ’553 patent no later than the
     7   filing of this First Amended Complaint.
     8         188. Upon information and belief, Defendant has actively induced
     9   others to infringe the ’553 patent by marketing and selling the above Apple
    10   Watch Series 4 and later devices, knowing and intending that such systems
    11   would be used by customers and end users in a manner that infringes the
    12   ’553 patent. To that end, Defendant provides instructions and teachings to its
    13   customers and end users that such Apple Watch Series 4 and later devices be
    14   used to infringe the ’553 patent. Defendant’s acts constitute infringement of the
    15   ’553 patent in violation of 35 U.S.C. § 271(b).
    16         189. Upon information and belief, Defendant actively induces users to
    17   directly infringe the asserted claims of the ’553 patent. By way of example
    18   only, upon information and belief, Defendant actively induces direct
    19   infringement of the ’553 patent by providing directions, demonstrations, guides,
    20   manuals, training for use, and/or other materials necessary for the use of the
    21   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    22   Upon information and belief, Defendant knew or should have known that these
    23   activities would cause direct infringement.
    24         190. Upon information and belief, Defendant’s acts constitute
    25   contributory infringement of the ’553 patent in violation of 35 U.S.C. § 271(c).
    26   Upon information and belief, Defendant contributorily infringes because, among
    27   other things, Defendant offers to sell and/or sells within the United States,
    28   and/or imports into the United States, components of the Apple Watch Series 4
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     1   and later devices and Apple iPhones that constitute material parts of the
     2   invention of the asserted claims of the ’553 patent, are not staple articles or
     3   commodities of commerce suitable for substantial non-infringing use and are
     4   known by Defendant to be especially made or especially adapted for use in an
     5   infringement of the ’553 patent.
     6         191. Defendant’s infringement of the ’553 patent is willful, deliberate,
     7   and intentional by continuing its acts of infringement after becoming aware of
     8   the ’553 patent and its infringement thereof, thus acting in reckless disregard of
     9   Masimo’s patent rights.
    10         192. Because of Defendant’s infringement of the ’553 patent, Masimo
    11   has suffered and will continue to suffer irreparable harm and injury, including
    12   monetary damages in an amount to be determined at trial.
    13         193. Upon information and belief, unless enjoined, Defendant, and/or
    14   others acting on behalf of Defendant, will continue their infringing acts, thereby
    15   causing additional irreparable injury to Masimo for which there is no adequate
    16   remedy at law.
    17                     XVIII. TWELFTH CAUSE OF ACTION
    18              (INFRINGEMENT OF U.S. PATENT NO. 10,588,554)
    19         194. Plaintiff Masimo hereby realleges and incorporates by reference
    20   the allegations set forth in paragraphs 1 through 42.
    21         195. Upon information and belief, Defendant’s products, including at
    22   least the Apple Watch Series 4 and later devices, infringe at least Claim 21 of
    23   the ’554 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    24         196. Upon information and belief, Defendant has directly infringed one
    25   or more claims of the ’554 patent through manufacture, use, sale, offer for sale,
    26   and/or importation into the United States of physiological monitors, including
    27   the Apple Watch Series 4 and later devices.
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     1         197. For example, upon information and belief, in operation, the Apple
     2   Watch Series 4 and later devices in combination with iPhone devices include all
     3   of the limitations of Claim 21 of the ’554 patent as set forth herein and further
     4   illustrated in the claim chart shown in Exhibit 24. The Apple Watch Series 4
     5   and later devices are physiological measurement systems with physiological
     6   sensors as shown in the image below found on the Apple website at
     7   https://www.apple.com/apple-watch-series-4/health/:
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    17         198. The Apple Watch Series 4 and later devices include a plurality of
    18   emitters configured to emit light into tissue of a user, and at least four detectors,
    19   wherein each of the at least four detectors has a corresponding window that
    20   allows light to pass through to the detector as shown in the image below found
    21   on the Apple website at https://support.apple.com/en-us/HT204666:
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                  199. The detectors output signals responsive to light from the light

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         emitters attenuated by body tissue. Upon information and belief, the signals are

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         indicative of a physiological parameter (for example, heart rate) of the wearer.

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                  200. Upon information and belief, the relevant technology in the Apple

    15
         Watch Series 4 and later devices is described in the below citations to U.S.

    16
         Patent Application Publication 2019/0072912 (the ’912 publication). A copy of

    17
         the publication is attached as Exhibit 25. The Apple Watch Series 4 and later

    18
         devices include a wall that surrounds at least the at least four detectors, a cover

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         comprising a single protruding convex surface, wherein the single protruding

    20
         convex surface is configured to be located between tissue of the user and the at

    21
         least four detectors when the physiological sensor device is worn by the user,

    22
         wherein at least a portion of the single protruding convex surface is sufficiently

    23
         rigid to cause tissue of the user to conform to at least a portion of a shape of the

    24
         single protruding convex surface when the physiological sensor device is worn

    25
         by the user, and wherein the cover operably connects to the wall. Fig. 4C and

    26
         the corresponding text of the ’912 publication show, for example, such wall and

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         cover:

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               201. The Apple Watch Series 4 and later devices communicate
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         wirelessly with handheld computing devices as shown in the image below found
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         on the Apple website at https://support.apple.com/en-us/HT204666 and as
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         further described at https://support.apple.com/en-us/HT204505:
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Case 8:20-cv-00048-JVS-JDE Document 28 Filed 03/25/20 Page 63 of 95 Page ID #:1375




     1         202. Upon information and belief, Defendant has knowledge of
     2   Masimo’s patents, including the ’554 patent, at least based on O’Reilly and
     3   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
     4   applications that led to the ’554 patent in August 2008, while O’Reilly and
     5   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
     6   the ’554 patent. Defendant had knowledge of the ’554 patent no later than the
     7   filing of this First Amended Complaint.
     8         203. Upon information and belief, Defendant has actively induced
     9   others to infringe the ’554 patent by marketing and selling the above Apple
    10   Watch Series 4 and later devices, knowing and intending that such systems
    11   would be used by customers and end users in a manner that infringes the
    12   ’554 patent. To that end, Defendant provides instructions and teachings to its
    13   customers and end users that such Apple Watch Series 4 and later devices be
    14   used to infringe the ’554 patent. Defendant’s acts constitute infringement of the
    15   ’554 patent in violation of 35 U.S.C. § 271(b).
    16         204. Upon information and belief, Defendant actively induces users to
    17   directly infringe the asserted claims of the ’554 patent. By way of example
    18   only, upon information and belief, Defendant actively induces direct
    19   infringement of the ’554 patent by providing directions, demonstrations, guides,
    20   manuals, training for use, and/or other materials necessary for the use of the
    21   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    22   Upon information and belief, Defendant knew or should have known that these
    23   activities would cause direct infringement.
    24         205. Upon information and belief, Defendant’s acts constitute
    25   contributory infringement of the ’554 patent in violation of 35 U.S.C. § 271(c).
    26   Upon information and belief, Defendant contributorily infringes because, among
    27   other things, Defendant offers to sell and/or sells within the United States,
    28   and/or imports into the United States, components of the Apple Watch Series 4
                                               -62-
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     1   and later devices and Apple iPhones that constitute material parts of the
     2   invention of the asserted claims of the ’554 patent, are not staple articles or
     3   commodities of commerce suitable for substantial non-infringing use and are
     4   known by Defendant to be especially made or especially adapted for use in an
     5   infringement of the ’554 patent.
     6         206. Defendant’s infringement of the ’554 patent is willful, deliberate,
     7   and intentional by continuing its acts of infringement after becoming aware of
     8   the ’554 patent and its infringement thereof, thus acting in reckless disregard of
     9   Masimo’s patent rights.
    10         207. Because of Defendant’s infringement of the ’554 patent, Masimo
    11   has suffered and will continue to suffer irreparable harm and injury, including
    12   monetary damages in an amount to be determined at trial.
    13         208. Upon information and belief, unless enjoined, Defendant, and/or
    14   others acting on behalf of Defendant, will continue their infringing acts, thereby
    15   causing additional irreparable injury to Masimo for which there is no adequate
    16   remedy at law.
    17                    XIX. THIRTEENTH CAUSE OF ACTION
    18               (TRADE SECRET MISAPPROPRIATION UNDER
    19              CALIFORNIA’S UNIFORM TRADE SECRET ACT)
    20         209. Plaintiffs hereby reallege and incorporate by reference the
    21   allegations set forth in paragraphs 1 through 42.
    22         210. This is a cause of action for Misappropriation of Trade Secrets under
    23   California’s Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426 et seq., based
    24   upon Defendant’s wrongful and improper acquisition, use, and disclosure of
    25   confidential and proprietary trade secret information of Plaintiffs.
    26         211. Plaintiffs own trade secrets that include, but are not limited to,
    27   Plaintiffs’ technical information, sales and marketing information, and other
    28   business information relating to non-invasive monitoring of physiological
                                                -63-
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     1   parameters and products to perform such monitoring.             Plaintiffs’ technical
     2   information includes product plans, engineering plans, product briefs, technical
     3   drawings, technical specifications, technical data, product designs, system designs,
     4   design captures, assembly design requirements, risk analysis, test procedures and
     5   results, test data, design review documents, software requirement specifications,
     6   technical know-how, manufacturing techniques and procedures, installation
     7   techniques and procedures, and invention disclosures.           Plaintiffs’ sales and
     8   marketing information includes product plans, business plans, customer
     9   information, sales pipelines, proposal and quote generation tools, pricing models,
    10   pricing schedules, sales training materials, product training materials, marketing
    11   and launch plans, marketing analysis, and competitive analysis. Plaintiffs’ other
    12   business information includes information for successfully operating a non-
    13   invasive patient monitoring company, including personnel information, supplier
    14   information, and other business spreadsheets and analysis. Plaintiffs trade secrets
    15   also include combinations and selections of the above information, and knowledge
    16   of the varying importance of the information. Plaintiffs trade secrets also include
    17   knowledge for selecting which information and technology are important for
    18   improving reliability, improving measurements, and how to successfully combine
    19   and implement them to achieve the desired functionality. Plaintiffs’ trade secrets
    20   also include negative information, what works well under certain conditions, and
    21   trade-offs of selecting certain techniques. The aforementioned information is
    22   referred to herein as Plaintiffs’ “Confidential Information.”
    23         212. Plaintiffs’ Confidential Information is currently or was, at least at the
    24   time of Defendant’s misappropriation, not generally known to the public or to
    25   other persons who can obtain economic value from its disclosure or use. All
    26   individuals with access to Plaintiffs’ Confidential Information were instructed to
    27   keep it confidential, and they were subject to obligations to keep Plaintiffs’
    28   Confidential Information secret.     For example, Plaintiffs marked documents
                                                 -64-
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     1   confidential, and instructed those individuals with access to the information to
     2   treat it as confidential, restricted access to the information, and required
     3   individuals and companies to enter into confidentiality agreements with Plaintiffs
     4   in order to receive Plaintiffs’ Confidential Information.
     5         213. Plaintiffs’ Confidential Information derives independent economic
     6   value, actual and potential, because it is, or was at the time of Defendant’s
     7   misappropriation, not generally known to the public or to other persons who can
     8   obtain economic value from its disclosure or use.           The actual and potential
     9   independent economic value of Plaintiffs’ Confidential Information is derived
    10   from not being generally known because it gives or gave Plaintiffs an actual and
    11   potential business advantage over others who do not know the information and
    12   who could obtain economic value from its disclosure or use. If others obtained
    13   access to Plaintiffs’ Confidential Information, they could use the information to
    14   deprive Plaintiffs of the business advantage it has over others, as well as to
    15   themselves obtain a business advantage over others.
    16         214. Plaintiffs made reasonable efforts under the circumstances to keep
    17   Plaintiffs’ Confidential Information from becoming generally known.             For
    18   example, Plaintiffs’ efforts included marking documents confidential, instructing
    19   individuals with access to the information to treat it as confidential, restricting
    20   access to the information, and requiring individuals and companies to enter into
    21   confidentiality agreements with Plaintiffs in order to receive Plaintiffs’
    22   Confidential Information.      Accordingly, Plaintiffs’ Confidential Information
    23   constitutes a “trade secret” pursuant to Cal. Civ. Code § 3426.1.
    24         215. Plaintiffs are informed and believe, and thereon allege, that
    25   Defendant misappropriated Plaintiffs’ Confidential Information by acquisition at
    26   least from Plaintiffs’ former employees who left Plaintiffs to work for Defendant.
    27   For example, upon information and belief, Lamego disclosed Plaintiffs’
    28   Confidential Information, without Plaintiffs’ consent, to Defendant. At the time of
                                                 -65-
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     1   disclosure, Lamego knew, or had reason to know, that his knowledge of Plaintiffs’
     2   Confidential Information was acquired by an employer-employee relationship,
     3   fiduciary relationship, and Lamego’s employment agreements, which created a
     4   duty for Lamego to keep Plaintiffs’ Confidential Information secret. Lamego also
     5   knew, or had reason to know, that disclosing Plaintiffs’ Confidential Information
     6   to Defendant constituted a breach of those obligations.
     7         216. At the time of acquisition, Defendant also knew, or had reason to
     8   know, that Lamego obtained Plaintiffs’ Confidential information pursuant to a
     9   duty or obligation to keep Plaintiffs’ Confidential information secret. This duty or
    10   obligation arose from an employer-employee relationship, fiduciary relationship,
    11   and Lamego’s employment agreements. Among other things, Defendant knew
    12   Lamego was the Chief Technical Officer of Cercacor and a Research Scientist at
    13   Masimo. Defendant knew Lamego was under a duty to maintain the secrecy of
    14   the information he obtained from Plaintiffs.          Defendant knew Plaintiffs
    15   considered the information confidential by virtue of its prior relationship with
    16   Plaintiffs. Defendant had also received a letter dated January 24, 2014, from
    17   Plaintiffs explaining that Lamego possessed Plaintiffs’ Confidential Information,
    18   asking Defendant not to use such information, and attaching a copy of Lamego’s
    19   Employee Confidentiality Agreement with Cercacor. Nevertheless, Defendant
    20   induced Lamego to disclose Plaintiffs’ Confidential Information and Lamego
    21   disclosed Plaintiffs’ Confidential Information for the benefit of Defendant while
    22   employed by Defendant.        Thus, Defendant acquired Plaintiffs’ trade secrets
    23   through the improper means of its employees breaching a duty to maintain secrecy
    24   owed to Plaintiffs, as well as inducing its employees to breach a duty to maintain
    25   secrecy owed to Plaintiffs.
    26         217. Upon information and belief, Defendant used and disclosed
    27   Plaintiffs’ Confidential Information it obtained from Plaintiffs and their former
    28   employees without Plaintiffs’ express or implied consent. For example, Lamego
                                                -66-
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     1   used and disclosed Plaintiffs’ Confidential Information for the benefit of
     2   Defendant while employed by Defendant. As discussed above, Lamego knew or
     3   had reason to know that his knowledge of Plaintiffs’ Confidential Information was
     4   acquired under circumstances giving rise to a duty to maintain its secrecy and limit
     5   its use.
     6          218. Defendant further used and disclosed Plaintiffs’ Confidential
     7   Information at least by incorporating it into Defendant’s products and by filing
     8   patent applications containing Plaintiffs’ Confidential Information, without
     9   Plaintiffs’ express or implied consent. As discussed above, Defendant knew or
    10   had reason to know that its knowledge of Plaintiffs’ Confidential Information
    11   came from Plaintiffs, Lamego’s knowledge of Plaintiffs’ Confidential Information
    12   came from Plaintiffs, and that Lamego had previously acquired Plaintiffs’
    13   Confidential Information by virtue of employer-employee and fiduciary
    14   relationships and the Lamego employment agreements, all of which created a duty
    15   for Lamego to keep Plaintiffs’ Confidential Information secret.
    16          219. Plaintiffs had no way of knowing, or learning, of Defendant’s
    17   improper acquisition, use, or disclosure prior to January 10, 2017. Defendant did
    18   not publish Plaintiffs’ Confidential Information in patent applications until after
    19   January 10, 2017, and the first product at issue was not announced until 2018.
    20   Additionally, based at least on Plaintiffs’ conversations with Lamego, Plaintiffs’
    21   letter to Apple, and Plaintiffs’ confidentiality agreement with Apple, Plaintiffs
    22   had no reason to suspect or believe that Defendant had ignored Plaintiffs’ letter
    23   and improperly acquired, used, and disclosed Plaintiffs’ Confidential
    24   Information until after Plaintiffs discovered patent applications published after
    25   January 10, 2017, and accused products announced in 2018.
    26          220. Defendant and Lamego also led Plaintiffs to believe they intended to
    27   respect Plaintiffs’ intellectual property rights and concealed Defendant’s
    28   acquisition, use, and disclosure of Plaintiffs’ Confidential Information. Plaintiffs
                                                -67-
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     1   notified Defendant that Lamego possessed the Confidential Information on
     2   January 24, 2014. Defendant never informed Plaintiffs that Lamego had used or
     3   disclosed the Confidential Information.          Defendant also requested non-
     4   publication of patent applications, which prevented Plaintiffs from learning of
     5   the contents of those applications until much later. For example, Defendant
     6   requested non-publication of the ’268 Application (which issued as the ’754
     7   Patent), the ’422 Application (which issued as the ’997 Patent), and the ’664
     8   Application (which issued as the ’095 Patent). On information and belief,
     9   Defendant requested non-publication of those applications to prevent Plaintiffs
    10   from learning those applications contained Plaintiffs’ Confidential Information,
    11   and from learning the Defendant had acquired, used and disclosed Plaintiffs’
    12   Confidential Information.
    13         221. Plaintiffs were harmed by Defendant’s acquisition, use, and
    14   disclosure of Plaintiffs’ Confidential Information, and Defendant’s actions were
    15   substantial factors in causing Plaintiffs’ harm. As a direct and proximate result of
    16   Defendant’s willful, improper, and unlawful acquisition, use, and disclosure of
    17   Plaintiffs’ trade secrets, Plaintiffs have suffered, and will continue to suffer, great
    18   harm and damage. Plaintiffs will continue to be irreparably damaged unless
    19   Defendant is enjoined from further use and disclosure of Plaintiffs’ Confidential
    20   Information.
    21         222. Defendant was unjustly enriched by Defendant’s acquisition, use,
    22   and disclosure of Plaintiffs’ Confidential Information, and Defendant’s actions
    23   were substantial factors in causing Defendant to be unjustly enriched. Defendant
    24   was unjustly enriched because its misappropriation of Plaintiffs’ Confidential
    25   Information caused Defendant to receive a benefit that it otherwise would not have
    26   achieved.
    27         223. If neither damages nor unjust enrichment caused by Defendant’s
    28   misappropriation of Plaintiffs’ Confidential Information is provable at trial,
                                                  -68-
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     1   Plaintiffs are entitled to a reasonable royalty for the period of time that
     2   Defendant’s use of Plaintiffs’ Confidential Information could have been
     3   prohibited.
     4         224. The aforementioned acts of Defendant wrongfully misappropriating
     5   Plaintiffs’ trade secrets were, and continue to be, willful and malicious, warranting
     6   an award of reasonable attorneys’ fees, as provided by Cal. Civ. Code § 3426.4,
     7   and exemplary damages, as provided by Cal. Civ. Code §§ 3294 and 3426.3(c).
     8                    XX. FOURTEENTH CAUSE OF ACTION
     9   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,078,052)
    10         225. Plaintiffs hereby reallege and incorporate by reference the
    11   allegations set forth in paragraphs 1 through 42.
    12         226. Lamego is a named inventor of U.S. Patent 10,078,052 presently
    13   recorded as owned by Apple. A true and correct copy of the ’052 Patent is
    14   attached hereto as Exhibit 27.
    15         227. The ’052 Patent claims subject matter that Lamego obtained from
    16   discussions with, or jointly conceived with, Masimo employees. For example,
    17   Claim 1 of the ’052 Patent recites an electronic device comprising a housing
    18   defining an aperture; an optical sensing system comprising a light emitter for
    19   emitting light through the aperture, the light emitter positioned adjacent the
    20   aperture; and a light detector for obtaining a first portion of the light after the
    21   first portion of the light reflects from an object; and a reflector disposed about
    22   the aperture and adapted to reflect a second portion of the light back into the
    23   object after the second portion of the light reflects from the object. Lamego
    24   obtained this subject matter from discussions with, or jointly conceived it with,
    25   Diab. Accordingly, Diab is a joint inventor of any patentable subject matter
    26   claimed in the ’052 Patent, and should have been named as an inventor on the
    27   ’052 Patent.
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     1         228. In written assignments, Lamego, as well as Diab, agreed to assign
     2   and assigned to Masimo all patentable subject matter (as well as all works of
     3   authorship, developments, improvements, or trade secrets) conceived during
     4   their employment at Masimo, including ownership of all patents and patent
     5   applications claiming such subject matter.
     6         229. Those assignments vested in Masimo all legal and equitable title to
     7   all patents and patent applications reciting inventions made during their
     8   employment, such that Masimo is at least a joint owner of the ’052 Patent and
     9   Masimo has standing to seek correction of inventorship to perfect Masimo’s
    10   ownership interest in the ’052 Patent.
    11         230. In at least one written assignment, Lamego agreed to assign and
    12   assigned to Cercacor all patentable subject matter (as well as all works of
    13   authorship, developments, improvements, or trade secrets) conceived during his
    14   employment at Cercacor, including ownership of all patents and patent
    15   applications claiming such subject matter. An exemplary agreement conveying
    16   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    17   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
    18   patentable subject matter claimed in the ’052 Patent from, or jointly conceived
    19   such subject matter with, Masimo employees while Lamego was an employee of
    20   Cercacor, Cercacor would be a joint owner of the ’052 Patent and has standing
    21   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
    22   ’052 Patent.
    23         231. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
    24   an order directing the U.S. Patent and Trademark Office to correct the
    25   inventorship of the ’052 Patent by adding inventor Diab as a named inventor.
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     1                     XXI. FIFTEENTH CAUSE OF ACTION
     2   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,247,670)
     3         232. Plaintiffs hereby reallege and incorporate by reference the
     4   allegations set forth in paragraphs 1 through 42.
     5         233. Lamego is a named inventor of U.S. Patent 10,247,670 presently
     6   recorded as owned by Apple. A true and correct copy of the ’670 Patent is
     7   attached hereto as Exhibit 28.
     8         234. The ’670 Patent claims subject matter that Lamego obtained from
     9   discussions with, or jointly conceived with, Masimo employees. For example,
    10   Claim 1 of the ’670 Patent recites an electronic device comprising a housing
    11   with a surface; a reflective layer that is formed on the surface, wherein the
    12   reflective layer has first and second openings; a light emitter that emits light
    13   through the first opening; and a light detector that receives the light emitted by
    14   the light emitter through the second opening. Lamego obtained this subject
    15   matter from discussions with, or jointly conceived it with, Diab. Accordingly,
    16   Diab is a joint inventor of any patentable subject matter claimed in the
    17   ’670 Patent, and should have been named as an inventor on the ’670 Patent.
    18         235. In written assignments, Lamego, as well as Diab, agreed to assign
    19   and assigned to Masimo all patentable subject matter (as well as all works of
    20   authorship, developments, improvements, or trade secrets) conceived during
    21   their employment at Masimo, including ownership of all patents and patent
    22   applications claiming such subject matter.
    23         236. Those assignments vested in Masimo all legal and equitable title to
    24   all patents and patent applications reciting inventions made during their
    25   employment, such that Masimo is at least a joint owner of the ’670 Patent and
    26   Masimo has standing to seek correction of inventorship to perfect Masimo’s
    27   ownership interest in the ’670 Patent.
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     1         237. In at least one written assignment, Lamego agreed to assign and
     2   assigned to Cercacor all patentable subject matter (as well as all works of
     3   authorship, developments, improvements, or trade secrets) conceived during his
     4   employment at Cercacor, including ownership of all patents and patent
     5   applications claiming such subject matter. An exemplary agreement conveying
     6   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
     7   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
     8   patentable subject matter claimed in the ’670 Patent from, or jointly conceived
     9   such subject matter with, Masimo employees while Lamego was an employee of
    10   Cercacor, Cercacor would be a joint owner of the ’670 Patent and has standing
    11   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
    12   ’670 Patent.
    13         238. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
    14   an order directing the U.S. Patent and Trademark Office to correct the
    15   inventorship of the ’670 Patent by adding inventor Diab as a named inventors.
    16                    XXII. SIXTEENTH CAUSE OF ACTION
    17    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 9,952,095)
    18         239. Plaintiffs hereby reallege and incorporate by reference the
    19   allegations set forth in paragraphs 1 through 42.
    20         240. Lamego is a named inventor of U.S. Patent 9,952,095 presently
    21   recorded as owned by Apple. A true and correct copy of the ’095 Patent is
    22   attached hereto as Exhibit 29.
    23         241. The ’095 Patent claims subject matter that Lamego obtained from
    24   discussions with, or jointly conceived with, Masimo employees. For example,
    25   Claim 1 of the ’095 Patent recites an electronic device comprising a housing
    26   comprising a surface adapted to be positioned proximate a measurement site of
    27   a subject; a biometric sensor positioned at least partially within the surface and
    28   comprising: a plurality of light sources for emitting light toward the
                                                -72-
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     1   measurement site at a selected modulation frequency; and an optical sensor for
     2   obtaining light exiting the measurement site; and an input amplifier coupled to
     3   the output of the biometric sensor and disposed within the housing; a high pass
     4   filter coupled to an output of the input amplifier and disposed within the
     5   housing, the high pass filter having a cutoff frequency above that of a periodic
     6   biometric property of the measurement site; an output amplifier coupled to an
     7   output of the high pass filter and disposed within the housing; and an analog to
     8   digital converter coupled to an output of the output amplifier and disposed
     9   within the housing. Lamego obtained this subject matter from discussions with,
    10   or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of any
    11   patentable subject matter claimed in the ’095 Patent, and should have been
    12   named as an inventor on the ’095 Patent.
    13         242. In written assignments, Lamego, as well as Diab, agreed to assign
    14   and assigned to Masimo all patentable subject matter (as well as all works of
    15   authorship, developments, improvements, or trade secrets) conceived during
    16   their employment at Masimo, including ownership of all patents and patent
    17   applications claiming such subject matter.
    18         243. Those assignments vested in Masimo all legal and equitable title to
    19   all patents and patent applications reciting inventions made during their
    20   employment, such that Masimo is at least a joint owner of the ’095 Patent and
    21   Masimo has standing to seek correction of inventorship to perfect Masimo’s
    22   ownership interest in the ’095 Patent.
    23         244. In at least one written assignment, Lamego agreed to assign and
    24   assigned to Cercacor all patentable subject matter (as well as all works of
    25   authorship, developments, improvements, or trade secrets) conceived during his
    26   employment at Cercacor, including ownership of all patents and patent
    27   applications claiming such subject matter. An exemplary agreement conveying
    28   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
                                                  -73-
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     1   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
     2   patentable subject matter claimed in the ’095 Patent from, or jointly conceived
     3   such subject matter with, Masimo employees while Lamego was an employee of
     4   Cercacor, Cercacor would be a joint owner of the ’095 Patent and has standing
     5   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
     6   ’095 Patent.
     7         245. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
     8   an order directing the U.S. Patent and Trademark Office to correct the
     9   inventorship of the ’095 Patent by adding inventor Diab as a named inventor.
    10                  XXIII. SEVENTEENTH CAUSE OF ACTION
    11   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,219,754)
    12         246. Plaintiffs hereby reallege and incorporate by reference the
    13   allegations set forth in paragraphs 1 through 42.
    14         247. Lamego is a named inventor of U.S. Patent 10,219,754 presently
    15   recorded as owned by Apple. A true and correct copy of the ’754 Patent is
    16   attached hereto as Exhibit 30.
    17         248. The ’754 Patent claims subject matter that Lamego obtained from
    18   discussions with, or jointly conceived with, Masimo employees. For example,
    19   Claim 1 of the ’754 Patent recites a method for estimating physiological
    20   parameters when modulated light from a first light source and a second light
    21   source is emitted toward a body part of a user, the method comprising
    22   determining a first multiplier value by: turning on the first light source;
    23   generating a first initial signal in response to capturing a first light sample
    24   corresponding to the first light source; demodulating the first initial signal to
    25   produce first initial demodulated signals; filtering and decimating the first initial
    26   demodulated signals; and determining the first multiplier value based on the
    27   filtered and decimated first initial demodulated signals; determining a second
    28   multiplier value by: turning on the second light source; generating a second
                                                 -74-
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     1   initial signal in response to capturing a second light sample corresponding to the
     2   second light source; demodulating the second initial signal to produce second
     3   initial demodulated signals; filtering and decimating the second initial
     4   demodulated signals; and determining the second multiplier value based on the
     5   filtered and decimated second initial demodulated signals; capturing multiple
     6   light samples while the first light source and the second light source are turned
     7   on to emit modulated light toward the body part of the user and converting the
     8   multiple light samples into a captured signal; demodulating the captured signal
     9   to produce multiple demodulated signals; performing a first decimation stage
    10   by: low pass filtering each demodulated signal; and decimating each
    11   demodulated signal; performing a second decimation stage after the first
    12   decimation stage by: low pass filtering each demodulated signal; and decimating
    13   each demodulated signal; demultiplexing each demodulated signal after the
    14   second decimation stage to produce a first signal associated with the first light
    15   source and a second signal associated with the second light source; multiplying
    16   the first signal by the first multiplier value using a first multiplier circuit to
    17   obtain a first conditioned signal; multiplying the second signal by the second
    18   multiplier value using a second multiplier circuit to obtain a second conditioned
    19   signal; and analyzing the first conditioned signal and the second conditioned
    20   signal to estimate the physiological parameter of the user. Lamego obtained this
    21   subject matter from discussions with, or jointly conceived it with, Al-Ali, Diab,
    22   and Weber. Accordingly, Al-Ali, Diab, and Weber are joint inventors of any
    23   patentable subject matter claimed in the ’754 Patent, and should have been
    24   named as inventors on the ’754 Patent.
    25         249. In written assignments, Lamego, as well as Al-Ali, Diab, and
    26   Weber, agreed to assign and assigned to Masimo all patentable subject matter
    27   (as well as all works of authorship, developments, improvements, or trade
    28

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     1   secrets) conceived during their employment at Masimo, including ownership of
     2   all patents and patent applications claiming such subject matter.
     3         250. Those assignments vested in Masimo all legal and equitable title to
     4   all patents and patent applications reciting inventions made during their
     5   employment, such that Masimo is at least a joint owner of the ’754 Patent and
     6   Masimo has standing to seek correction of inventorship to perfect Masimo’s
     7   ownership interest in the ’754 Patent.
     8         251. In at least one written assignment, Lamego agreed to assign and
     9   assigned to Cercacor all patentable subject matter (as well as all works of
    10   authorship, developments, improvements, or trade secrets) conceived during his
    11   employment at Cercacor, including ownership of all patents and patent
    12   applications claiming such subject matter. An exemplary agreement conveying
    13   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    14   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
    15   patentable subject matter claimed in the ’754 Patent from, or jointly conceived
    16   such subject matter with, Masimo employees while Lamego was an employee of
    17   Cercacor, Cercacor would be a joint owner of the ’754 Patent and has standing
    18   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
    19   ’754 Patent.
    20         252. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
    21   an order directing the U.S. Patent and Trademark Office to correct the
    22   inventorship of the ’754 Patent by adding inventors Al-Ali, Diab, and Weber as
    23   named inventors.
    24                   XXIV. EIGHTEENTH CAUSE OF ACTION
    25   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,524,671)
    26         253. Plaintiffs hereby reallege and incorporate by reference the
    27   allegations set forth in paragraphs 1 through 42.
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     1         254. Lamego is a named inventor of U.S. Patent 10,524,671 presently
     2   recorded as owned by Apple. A true and correct copy of the ’671 Patent is
     3   attached hereto as Exhibit 31.
     4         255. The ’671 Patent claims subject matter that Lamego obtained from
     5   discussions with, or jointly conceived with, Masimo employees. For example,
     6   Claim 1 of the ’671 Patent recites a wearable device, comprising a first light
     7   source; a second light source, the second light source operating at a different
     8   wavelength than the first light source; at least one light receiver; and a
     9   processing unit communicably coupled to the first light source, the second light
    10   source, and the at least one light receiver; wherein the processing unit is
    11   configured to: use the first light source and the second light source to emit light
    12   into a body part of a user; and dependent on the light emitted by the first light
    13   source and received by the at least one light receiver, compute a pulse rate of the
    14   user using the light emitted by the second light source and received by the at
    15   least one light receiver. Lamego obtained this subject matter from discussions
    16   with, or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of
    17   any patentable subject matter claimed in the ’671 Patent, and should have been
    18   named as an inventor on the ’671 Patent.
    19         256. In written assignments, Lamego, as well as Diab, agreed to assign
    20   and assigned to Masimo all patentable subject matter (as well as all works of
    21   authorship, developments, improvements, or trade secrets) conceived during
    22   their employment at Masimo, including ownership of all patents and patent
    23   applications claiming such subject matter.
    24         257. Those assignments vested in Masimo all legal and equitable title to
    25   all patents and patent applications reciting inventions made during their
    26   employment, such that Masimo is at least a joint owner of the ’671 Patent and
    27   Masimo has standing to seek correction of inventorship to perfect Masimo’s
    28   ownership interest in the ’671 Patent.
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     1         258. In at least one written assignment, Lamego agreed to assign and
     2   assigned to Cercacor all patentable subject matter (as well as all works of
     3   authorship, developments, improvements, or trade secrets) conceived during his
     4   employment at Cercacor, including ownership of all patents and patent
     5   applications claiming such subject matter. An exemplary agreement conveying
     6   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
     7   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
     8   patentable subject matter claimed in the ’671 Patent from, or jointly conceived
     9   such subject matter with, Masimo employees while Lamego was an employee of
    10   Cercacor, Cercacor would be a joint owner of the ’671 Patent and has standing
    11   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
    12   ’671 Patent.
    13         259. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
    14   an order directing the U.S. Patent and Trademark Office to correct the
    15   inventorship of the ’671 Patent by adding inventor Diab as a named inventor.
    16                   XXV. NINETEENTH CAUSE OF ACTION
    17             (DECLARATORY JUDGMENT OF OWNERSHIP OF
    18                           U.S. PATENT NO. 10,078,052)
    19         260. Plaintiffs hereby reallege and incorporate by reference the
    20   allegations set forth in paragraphs 1 through 42.
    21         261. U.S. Patent 10,078,052 is recorded as owned by Apple.
    22         262. The ’052 Patent claims subject matter that Lamego obtained from
    23   discussions with, or jointly conceived with, Masimo employees. For example,
    24   Claim 1 of the ’052 Patent recites an electronic device comprising a housing
    25   defining an aperture; an optical sensing system comprising a light emitter for
    26   emitting light through the aperture, the light emitter positioned adjacent the
    27   aperture; and a light detector for obtaining a first portion of the light after the
    28   first portion of the light reflects from an object; and a reflector disposed about
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     1   the aperture and adapted to reflect a second portion of the light back into the
     2   object after the second portion of the light reflects from the object. Lamego
     3   obtained this subject matter from discussions with, or jointly conceived it with
     4   Diab. Accordingly, Diab is a joint inventor of any patentable subject matter
     5   claimed in the ’052 Patent, and should have been named as an inventor on the
     6   ’052 Patent
     7         263. Lamego and Diab made any inventive contributions to at least Claim
     8   1 while they were employees of Masimo.
     9         264. In written assignments, Lamego, as well as Diab, agreed to assign
    10   and assigned to Masimo all patentable subject matter (as well as all works of
    11   authorship, developments, improvements, or trade secrets) conceived during
    12   their employment at Masimo, including ownership of all patents and patent
    13   applications claiming such subject matter.
    14         265. Those assignments vested in Masimo all legal and equitable title to
    15   patents and patent applications reciting inventions made during their
    16   employment, such that Masimo is at least a joint owner of the ’052 Patent and
    17   all applications, patents, continuations, divisionals, and reissues that claim priority
    18   to the ’052 Patent, including foreign counterparts.
    19         266. In at least one written assignment, Lamego agreed to assign and
    20   assigned to Cercacor all patentable subject matter (as well as all works of
    21   authorship, developments, improvements, or trade secrets) conceived during his
    22   employment at Cercacor, including ownership of all patents and patent
    23   applications claiming such subject matter. An exemplary agreement conveying
    24   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    25   16-3). That assignment vested in Cercacor all legal and equitable title to patents
    26   and patent applications reciting inventions made during his employment, such
    27   that, to the extent the evidence establishes that Lamego obtained patentable
    28   subject matter claimed in the ’052 Patent from, or jointly conceived such subject
                                                  -79-
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     1   matter with, Cercacor employees while Lamego was an employee of Cercacor,
     2   Cercacor would be a joint owner of the ’052 Patent and all applications, patents,
     3   continuations, divisionals, and reissues that claim priority to the ’052 Patent,
     4   including foreign counterparts.
     5         267. Based on the forgoing, Plaintiffs seek declaratory relief under at
     6   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
     7   federal patent law, declaring that Masimo is at least a joint owner of the ’052
     8   Patent (or, to the extent it is determined that Masimo employees invented all of
     9   the patentable subject matter claimed in the ’052 Patent, that Masimo is the
    10   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
    11   ’052 Patent. Plaintiffs also seek an order from the Court directing the Patent
    12   Office to amend the Patent Office records to reflect the ownership interest of
    13   Masimo and/or Cercacor.
    14                    XXVI. TWENTIETH CAUSE OF ACTION
    15             (DECLARATORY JUDGMENT OF OWNERSHIP OF
    16                           U.S. PATENT NO. 10,247,670)
    17         268. Plaintiffs hereby reallege and incorporate by reference the
    18   allegations set forth in paragraphs 1 through 42.
    19         269. U.S. Patent 10,247,670 is recorded as owned by Apple.
    20         270. The ’670 Patent claims subject matter that Lamego obtained from
    21   discussions with, or jointly conceived with, Masimo employees. For example,
    22   Claim 1 of the ’670 Patent recites an electronic device comprising a housing
    23   with a surface; a reflective layer that is formed on the surface, wherein the
    24   reflective layer has first and second openings; a light emitter that emits light
    25   through the first opening; and a light detector that receives the light emitted by
    26   the light emitter through the second opening. Lamego obtained this subject
    27   matter from discussions with, or jointly conceived it with, Diab. Accordingly,
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     1   Diab is a joint inventor of any patentable subject matter claimed in the
     2   ’670 Patent, and should have been named as an inventor on the ’670 Patent.
     3         271. Lamego and Diab made any inventive contributions to at least Claim
     4   1 while they were employees of Masimo.
     5         272. In written assignments, Lamego, as well as Diab, agreed to assign
     6   and assigned to Masimo all patentable subject matter (as well as all works of
     7   authorship, developments, improvements, or trade secrets) conceived during
     8   their employment at Masimo, including ownership of all patents and patent
     9   applications claiming such subject matter.
    10         273. Those assignments vested in Masimo all legal and equitable title to
    11   patents and patent applications reciting inventions made during their
    12   employment, such that Masimo is at least a joint owner of the ’670 Patent and
    13   all applications, patents, continuations, divisionals, and reissues that claim priority
    14   to the ’670 Patent, including foreign counterparts.
    15         274. In at least one written assignment, Lamego agreed to assign and
    16   assigned to Cercacor all patentable subject matter (as well as all works of
    17   authorship, developments, improvements, or trade secrets) conceived during his
    18   employment at Cercacor, including ownership of all patents and patent
    19   applications claiming such subject matter. An exemplary agreement conveying
    20   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    21   16-3). That assignment vested in Cercacor all legal and equitable title to patents
    22   and patent applications reciting inventions made during his employment, such
    23   that, to the extent the evidence establishes that Lamego obtained patentable
    24   subject matter claimed in the ’670 Patent from, or jointly conceived such subject
    25   matter with, Cercacor employees while Lamego was an employee of Cercacor,
    26   Cercacor would be a joint owner of the ’670 Patent and all applications, patents,
    27   continuations, divisionals, and reissues that claim priority to the ’670 Patent,
    28   including foreign counterparts.
                                                  -81-
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     1         275. Based on the forgoing, Plaintiffs seek declaratory relief under at
     2   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
     3   federal patent law, declaring that Masimo is at least a joint owner of the ’670
     4   Patent (or, to the extent it is determined that Masimo employees invented all of
     5   the patentable subject matter claimed in the ’670 Patent, that Masimo is the
     6   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
     7   ’670 Patent. Plaintiffs also seek an order from the Court directing the Patent
     8   Office to amend the Patent Office records to reflect the ownership interest of
     9   Masimo and/or Cercacor.
    10                 XXVII. TWENTY-FIRST CAUSE OF ACTION
    11             (DECLARATORY JUDGMENT OF OWNERSHIP OF
    12                            U.S. PATENT NO. 9,952,095)
    13         276. Plaintiffs hereby reallege and incorporate by reference the
    14   allegations set forth in paragraphs 1 through 42.
    15         277. U.S. Patent 9,952,095 is recorded as owned by Apple.
    16         278. The ’095 Patent claims subject matter that Lamego obtained from
    17   discussions with, or jointly conceived with, Masimo employees. For example,
    18   Claim 1 of the ’095 Patent recites an electronic device comprising a housing
    19   comprising a surface adapted to be positioned proximate a measurement site of
    20   a subject; a biometric sensor positioned at least partially within the surface and
    21   comprising: a plurality of light sources for emitting light toward the
    22   measurement site at a selected modulation frequency; and an optical sensor for
    23   obtaining light exiting the measurement site; and an input amplifier coupled to
    24   the output of the biometric sensor and disposed within the housing; a high pass
    25   filter coupled to an output of the input amplifier and disposed within the
    26   housing, the high pass filter having a cutoff frequency above that of a periodic
    27   biometric property of the measurement site; an output amplifier coupled to an
    28   output of the high pass filter and disposed within the housing; and an analog to
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     1   digital converter coupled to an output of the output amplifier and disposed
     2   within the housing. Lamego obtained this subject matter from discussions with,
     3   or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of any
     4   patentable subject matter claimed in the ’095 Patent, and should have been
     5   named as an inventor on the ’095 Patent.
     6         279. Lamego and Diab made any inventive contributions to at least Claim
     7   1 while they were employees of Masimo.
     8         280. In written assignments, Lamego, as well as Diab, agreed to assign
     9   and assigned to Masimo all patentable subject matter (as well as all works of
    10   authorship, developments, improvements, or trade secrets) conceived during
    11   their employment at Masimo, including ownership of all patents and patent
    12   applications claiming such subject matter.
    13         281. Those assignments vested in Masimo all legal and equitable title to
    14   patents and patent applications reciting inventions made during their
    15   employment, such that Masimo is at least a joint owner of the ’095 Patent and
    16   all applications, patents, continuations, divisionals, and reissues that claim priority
    17   to the ’095 Patent, including foreign counterparts.
    18         282. In at least one written assignment, Lamego agreed to assign and
    19   assigned to Cercacor all patentable subject matter (as well as all works of
    20   authorship, developments, improvements, or trade secrets) conceived during his
    21   employment at Cercacor, including ownership of all patents and patent
    22   applications claiming such subject matter. An exemplary agreement conveying
    23   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    24   16-3). That assignment vested in Cercacor all legal and equitable title to patents
    25   and patent applications reciting inventions made during his employment, such
    26   that, to the extent the evidence establishes that Lamego obtained patentable
    27   subject matter claimed in the ’095 Patent from, or jointly conceived such subject
    28   matter with, Cercacor employees while Lamego was an employee of Cercacor,
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     1   Cercacor would be a joint owner of the ’095 Patent and all applications, patents,
     2   continuations, divisionals, and reissues that claim priority to the ’095 Patent,
     3   including foreign counterparts.
     4         283. Based on the forgoing, Plaintiffs seek declaratory relief under at
     5   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
     6   federal patent law, declaring that Masimo is at least a joint owner of the ’095
     7   Patent (or, to the extent it is determined that Masimo employees invented all of
     8   the patentable subject matter claimed in the ’095 Patent, that Masimo is the
     9   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
    10   ’095 Patent. Plaintiffs also seek an order from the Court directing the Patent
    11   Office to amend the Patent Office records to reflect the ownership interest of
    12   Masimo and/or Cercacor.
    13               XXVIII. TWENTY-SECOND CAUSE OF ACTION
    14              (DECLARATORY JUDGMENT OF OWNERSHIP OF
    15                            U.S. PATENT NO. 10,219,754)
    16         284. Plaintiffs hereby reallege and incorporate by reference the
    17   allegations set forth in paragraphs 1 through 42.
    18         285. U.S. Patent 10,219,754 is recorded as owned by Apple.
    19         286. The ’754 Patent claims subject matter that Lamego obtained from
    20   discussions with, or jointly conceived with, Masimo employees. For example,
    21   Claim 1 of the ’754 Patent recites a method for estimating physiological
    22   parameters when modulated light from a first light source and a second light
    23   source is emitted toward a body part of a user, the method comprising
    24   determining a first multiplier value by: turning on the first light source;
    25   generating a first initial signal in response to capturing a first light sample
    26   corresponding to the first light source; demodulating the first initial signal to
    27   produce first initial demodulated signals; filtering and decimating the first initial
    28   demodulated signals; and determining the first multiplier value based on the
                                                 -84-
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     1   filtered and decimated first initial demodulated signals; determining a second
     2   multiplier value by: turning on the second light source; generating a second
     3   initial signal in response to capturing a second light sample corresponding to the
     4   second light source; demodulating the second initial signal to produce second
     5   initial demodulated signals; filtering and decimating the second initial
     6   demodulated signals; and determining the second multiplier value based on the
     7   filtered and decimated second initial demodulated signals; capturing multiple
     8   light samples while the first light source and the second light source are turned
     9   on to emit modulated light toward the body part of the user and converting the
    10   multiple light samples into a captured signal; demodulating the captured signal
    11   to produce multiple demodulated signals; performing a first decimation stage
    12   by: low pass filtering each demodulated signal; and decimating each
    13   demodulated signal; performing a second decimation stage after the first
    14   decimation stage by: low pass filtering each demodulated signal; and decimating
    15   each demodulated signal; demultiplexing each demodulated signal after the
    16   second decimation stage to produce a first signal associated with the first light
    17   source and a second signal associated with the second light source; multiplying
    18   the first signal by the first multiplier value using a first multiplier circuit to
    19   obtain a first conditioned signal; multiplying the second signal by the second
    20   multiplier value using a second multiplier circuit to obtain a second conditioned
    21   signal; and analyzing the first conditioned signal and the second conditioned
    22   signal to estimate the physiological parameter of the user. Lamego obtained this
    23   subject matter from discussions with, or jointly conceived it with, Al-Ali, Diab,
    24   and Weber. Accordingly, Al-Ali, Diab, and Weber are joint inventors of any
    25   patentable subject matter claimed in the ’754 Patent, and should have been
    26   named as inventors on the ’754 Patent.
    27         287. Lamego, Al-Ali, Diab, and Weber made any inventive contributions
    28   to at least Claim 1 while they were employees of Masimo.
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     1         288. In written assignments, Lamego, Al-Ali, Diab, and Weber, agreed
     2   to assign and assigned to Masimo all patentable subject matter (as well as all
     3   works of authorship, developments, improvements, or trade secrets) conceived
     4   during their employment at Masimo, including ownership of all patents and
     5   patent applications claiming such subject matter.
     6         289. Those assignments vested in Masimo all legal and equitable title to
     7   patents and patent applications reciting inventions made during their
     8   employment, such that Masimo is at least a joint owner of the ’754 Patent and
     9   all applications, patents, continuations, divisionals, and reissues that claim priority
    10   to the ’754 Patent, including foreign counterparts.
    11         290. In at least one written assignment, Lamego agreed to assign and
    12   assigned to Cercacor all patentable subject matter (as well as all works of
    13   authorship, developments, improvements, or trade secrets) conceived during his
    14   employment at Cercacor, including ownership of all patents and patent
    15   applications claiming such subject matter. An exemplary agreement conveying
    16   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    17   16-3). That assignment vested in Cercacor all legal and equitable title to patents
    18   and patent applications reciting inventions made during his employment, such
    19   that, to the extent the evidence establishes that Lamego obtained patentable
    20   subject matter claimed in the ’754 Patent from, or jointly conceived such subject
    21   matter with, Cercacor employees while Lamego was an employee of Cercacor,
    22   Cercacor would be a joint owner of the ’754 Patent and all applications, patents,
    23   continuations, divisionals, and reissues that claim priority to the ’754 Patent,
    24   including foreign counterparts.
    25         291. Based on the forgoing, Plaintiffs seek declaratory relief under at
    26   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
    27   federal patent law, declaring that Masimo is at least a joint owner of the ’754
    28   Patent (or, to the extent it is determined that Masimo employees invented all of
                                                  -86-
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     1   the patentable subject matter claimed in the ’754 Patent, that Masimo is the
     2   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
     3   ’754 Patent. Plaintiffs also seek an order from the Court directing the Patent
     4   Office to amend the Patent Office records to reflect the ownership interest of
     5   Masimo and/or Cercacor.
     6                 XXIX. TWENTY-THIRD CAUSE OF ACTION
     7             (DECLARATORY JUDGMENT OF OWNERSHIP OF
     8                           U.S. PATENT NO. 10,524,671)
     9         292. Plaintiffs hereby reallege and incorporate by reference the
    10   allegations set forth in paragraphs 1 through 42.
    11         293. U.S. Patent 10,524,671 is recorded as owned by Apple.
    12         294. The ’671 Patent claims subject matter that Lamego obtained from
    13   discussions with, or jointly conceived with, Masimo employees. For example,
    14   Claim 1 of the ’671 Patent recites a wearable device, comprising a first light
    15   source; a second light source, the second light source operating at a different
    16   wavelength than the first light source; at least one light receiver; and a
    17   processing unit communicably coupled to the first light source, the second light
    18   source, and the at least one light receiver; wherein the processing unit is
    19   configured to: use the first light source and the second light source to emit light
    20   into a body part of a user; and dependent on the light emitted by the first light
    21   source and received by the at least one light receiver, compute a pulse rate of the
    22   user using the light emitted by the second light source and received by the at
    23   least one light receiver. Lamego obtained this subject matter from discussions
    24   with, or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of
    25   any patentable subject matter claimed in the ’671 Patent, and should have been
    26   named as an inventor on the ’671 Patent.
    27         295. Lamego and Diab made any inventive contributions to at least Claim
    28   1 while they were employees of Masimo.
                                                -87-
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     1         296. In written assignments, Lamego, as well as Diab, agreed to assign
     2   and assigned to Masimo all patentable subject matter (as well as all works of
     3   authorship, developments, improvements, or trade secrets) conceived during
     4   their employment at Masimo, including ownership of all patents and patent
     5   applications claiming such subject matter.
     6         297. Those assignments vested in Masimo all legal and equitable title to
     7   patents and patent applications reciting inventions made during their
     8   employment, such that Masimo is at least a joint owner of the ’671 Patent and
     9   all applications, patents, continuations, divisionals, and reissues that claim priority
    10   to the ’671 Patent, including foreign counterparts.
    11         298. In at least one written assignment, Lamego agreed to assign and
    12   assigned to Cercacor all patentable subject matter (as well as all works of
    13   authorship, developments, improvements, or trade secrets) conceived during his
    14   employment at Cercacor, including ownership of all patents and patent
    15   applications claiming such subject matter. An exemplary agreement conveying
    16   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    17   16-3). That assignment vested in Cercacor all legal and equitable title to patents
    18   and patent applications reciting inventions made during his employment, such
    19   that, to the extent the evidence establishes that Lamego obtained patentable
    20   subject matter claimed in the ’671 Patent from, or jointly conceived such subject
    21   matter with, Cercacor employees while Lamego was an employee of Cercacor,
    22   Cercacor would be a joint owner of the ’671 Patent and all applications, patents,
    23   continuations, divisionals, and reissues that claim priority to the ’671 Patent,
    24   including foreign counterparts.
    25         299. Based on the forgoing, Plaintiffs seek declaratory relief under at
    26   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
    27   federal patent law, declaring that Masimo is at least a joint owner of the ’671
    28   Patent (or, to the extent it is determined that Masimo employees invented all of
                                                  -88-
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     1   the patentable subject matter claimed in the ’671 Patent, that Masimo is the
     2   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
     3   ’671 Patent. Plaintiffs also seek an order from the Court directing the Patent
     4   Office to amend the Patent Office records to reflect the ownership interest of
     5   Masimo and/or Cercacor.
     6                 XXX. TWENTY-FOURTH CAUSE OF ACTION
     7              (DECLARATORY JUDGMENT OF OWNERSHIP OF
     8                  U.S. PATENT APPLICATION NO. 15/960,507)
     9         300. Plaintiffs hereby reallege and incorporate by reference the
    10   allegations set forth in paragraphs 1 through 42.
    11         301. U.S. Patent Application 15/960,507 is recorded as owned by Apple.
    12         302. Any inventive contribution that Lamego could have made to the
    13   alleged invention of the subject matter claimed in the ’507 application was made
    14   while he was a Masimo employee during 2000-2001 and 2003-2006, or a
    15   Cercacor employee during 2006-2014. This includes, for example, Claim 21 of
    16   the ’507 Application recites a biometric sensor within a housing of a wearable
    17   electronic device, the biometric sensor comprising: an emitter for transmitting
    18   modulated light toward a measurement site of a subject through a first aperture
    19   in the housing; an optical sensor for receiving modulated light through a second
    20   aperture in the housing, the modulated light at least partially exiting the
    21   measurement site; a high pass filter to receive an output of the optical sensor,
    22   the high pass filter having a cutoff frequency above a frequency of a periodic
    23   optical property of the measurement site; and an analog to digital converter to
    24   receive an output of the high pass filter.”
    25         303. In written assignments, Lamego agreed to assign and assigned to
    26   Masimo all patentable subject matter (as well as all works of authorship,
    27   developments, improvements, or trade secrets) conceived during their
    28

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     1   employment at Masimo, including ownership of all patents and patent
     2   applications claiming such subject matter.
     3         304. Those assignments vested in Masimo all legal and equitable title to
     4   patents and patent applications reciting inventions made during their
     5   employment, such that Masimo is at least a joint owner of the ’507 Application
     6   and all applications, patents, continuations, divisionals, and reissues that claim
     7   priority to the ’507 Application, including foreign counterparts.
     8         305. In at least one written assignment, Lamego agreed to assign and
     9   assigned to Cercacor all patentable subject matter (as well as all works of
    10   authorship, developments, improvements, or trade secrets) conceived during his
    11   employment at Cercacor, including ownership of all patents and patent
    12   applications claiming such subject matter. An exemplary agreement conveying
    13   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    14   16-3). That assignment vested in Cercacor all legal and equitable title to patents
    15   and patent applications reciting inventions made during his employment, such
    16   that, to the extent the evidence establishes that Lamego obtained patentable
    17   subject matter claimed in the ’507 Application from, or jointly conceived such
    18   subject matter with, Cercacor employees while Lamego was an employee of
    19   Cercacor, Cercacor would be a joint owner of the ’507 Application and all
    20   applications, patents, continuations, divisionals, and reissues that claim priority to
    21   the ’507 Application, including foreign counterparts.
    22         306. Based on the forgoing, Plaintiffs seek declaratory relief under at
    23   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
    24   federal patent law, declaring that Masimo is at least a joint owner of the ’507
    25   Application (or, to the extent it is determined that Masimo employees invented
    26   all of the patentable subject matter claimed in the ’507 Application, that Masimo
    27   is the exclusive owner), and, in the alternative, that Cercacor is a joint owner of
    28   the ’507 Application. Plaintiffs also seek an order from the Court directing the
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     1   Patent Office to amend the Patent Office records to reflect the ownership
     2   interest of Masimo and/or Cercacor.
     3                              PRAYER FOR RELIEF
     4         WHEREFORE, Plaintiffs pray for judgment in their favor against
     5   Defendant for the following relief:
     6         A.     Pursuant to 35 U.S.C. § 271, a determination that Defendant and its
     7   officers, agents, servants, employees, attorneys and all others in active concert
     8   and/or participation with them have infringed each of the ’265, ’266, ’628, ’708,
     9   ’190, ’191, ’994, ’695, ’703, ’776, ’553, and ’554 patents through the
    10   manufacture, use, importation, offer for sale, and/or sale of infringing products
    11   and/or any of the other acts prohibited by 35 U.S.C. § 271;
    12         B.     Pursuant to 35 U.S.C. § 283, an injunction enjoining Defendant and
    13   its officers, agents, servants, employees, attorneys and all others in active
    14   concert and/or participation with them from infringing the ’265, ’266, ’628,
    15   ’708, ’190, ’191, ’994, ’695, ’703, ’776, ’553, and ’554 patents through the
    16   manufacture, use, importation, offer for sale, and/or sale of infringing products
    17   and/or any of the other acts prohibited by 35 U.S.C. § 271, including
    18   preliminary and permanent injunctive relief;
    19         C.     Pursuant to 35 U.S.C. § 284, an award compensating Masimo for
    20   Defendant’s infringement of the ’265, ’266, ’628, ’708, ’190, ’191, ’994, ’695,
    21   ’703, ’776, ’553, and ’554 patents through payment of not less than a reasonable
    22   royalty on Defendant’s sales of infringing products;
    23         D.     Pursuant to 35 U.S.C. § 284, an award increasing damages up to
    24   three times the amount found or assessed by the jury for Defendant’s
    25   infringement of each of the ’265, ’266, ’628, ’708, ’190, ’191, ’994, ’695, ’703,
    26   ’776, ’553, and ’554 patents in view of the willful and deliberate nature of the
    27   infringement;
    28         E.     Pursuant to 35 U.S.C. § 285, a finding that this is an exceptional
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     1   case, and an award of reasonable attorneys’ fees and non-taxable costs;
     2         F.     An assessment of prejudgment and post-judgment interest and
     3   costs against Defendant, together with an award of such interest and costs,
     4   pursuant to 35 U.S.C. § 284;
     5         G.     That Defendant be adjudged to have misappropriated Plaintiffs’ trade
     6   secrets in violation of the California Uniform Trade Secrets Act, Cal. Civ. Code
     7   § 3426 et seq., and that Defendant’s acts in doing so be adjudged willful,
     8   malicious, oppressive, and done knowingly;
     9         H.     That Defendant be adjudged to have been unjustly enriched;
    10         I.     That Plaintiffs be awarded damages for actual losses, unjust
    11   enrichment, and/or a reasonable royalty pursuant to Cal. Civ. Code § 3426.3.
    12         J.     That Defendant, its agents, servants, employees, and attorneys, and
    13   all those persons in active concert or participation with Defendant, be forthwith
    14   temporarily, preliminarily, and thereafter permanently required to return all of
    15   Plaintiffs’ trade secrets and confidential information and enjoined from further
    16   using and disclosing to any third parties any of Plaintiffs’ trade secrets and
    17   confidential information;
    18         K.     That Defendant be enjoined from selling or offering to sell any
    19   product, including Defendant’s Apple Watch Series 4 and later devices, that
    20   includes or uses any of Plaintiffs’ trade secrets;
    21         L.     That Defendant be directed to file with this Court and to serve on
    22   Plaintiffs within thirty (30) days after the service of the injunction, a report in
    23   writing, under oath, setting forth in detail the manner and form in which
    24   Defendant has complied with the injunction;
    25         M.     That Defendant be required to account to Plaintiffs for any and all
    26   gains, profits, and advantages derived by it, and all damages sustained by
    27   Plaintiffs, by reason of Defendant’s acts complained herein;
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     1         N.     That Plaintiffs be awarded exemplary damages and reasonable
     2   attorneys’ fees pursuant to Cal. Civ. Code § 3426.3(c) and 3426.4;
     3         O.     That the U.S. Patent and Trademark Office be directed to correct
     4   the inventorship of the ’052, ’670, ’095, ’754 and ’671 patents to add the correct
     5   inventors;
     6         P.     An order imposing a constructive trust for the benefit of Plaintiffs
     7   over: (1) any trade secrets Defendants obtained from Plaintiffs; (2) any profits,
     8   revenues, or other benefits obtained by Defendants as a result of any disclosure
     9   or use of trade secrets obtained from Plaintiffs; and (3) the Lamego Patents and
    10   the Lamego Patent Applications;
    11         Q.     That Plaintiffs be declared exclusive owners, or at least joint owners,
    12   of the patents and patent applications that are based on Plaintiffs’ developments,
    13   including the ’052, ’670, ’095, ’754 and ’671 patents, and the ’507 application,
    14   and all applications, patents, continuations, divisionals, and reissues that claim
    15   priority to those patents and that patent application, including foreign counterparts;
    16         R.     An award of taxable costs; and
    17         S.     That this Court award such other and further relief as this Court
    18   may deem just.
    19

    20                                     Respectfully submitted,
    21                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
    22
         Dated: March 25, 2020             By: /s/ Perry D. Oldham
    23                                         Joseph R. Re
                                               Stephen C. Jensen
    24                                         Perry D. Oldham
                                               Stephen W. Larson
    25
                                               Attorneys for Plaintiffs,
    26                                         Masimo Corporation and
                                               Cercacor Laboratories, Inc.
    27

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     1                                  DEMAND FOR JURY TRIAL
     2              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
     3   Masimo Corporation and Cercacor Laboratories, Inc. hereby demands a trial by
     4   jury on all issues so triable.
     5                                       Respectfully submitted,
     6                                       KNOBBE, MARTENS, OLSON & BEAR, LLP
     7
         Dated: March 25, 2020               By: /s/ Perry D. Oldham
     8                                            Joseph R. Re
                                                  Stephen C. Jensen
     9                                            Perry D. Oldham
                                                  Stephen W. Larson
    10
                                                  Attorneys for Plaintiffs,
    11                                            Masimo Corporation and
                                                  Cercacor Laboratories, Inc.
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